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 1               U                  1     (760) 602-5001   (562) 595-9810   24 HOUR FITNESS                  537 WEST 9460 SOUTH              CARLSBAD             CA            92018
 2               U                  1     (651)-733-1110   (816) 650-4061   3M CENTER                                                         Saint Paul           MN            55119
 3               U                  1     (828) 884-4440   828-884-4446     4-RENT, INC                      312 INDUSTRIAL ROAD              BREVARD              NC            28712
 4               U                  1     (954) 981-8270   (954) 981-4715   441 TOOL REPAIR                  7700 Westbank Exp.               PEMBROKE PARK        FL            33009
 5      No Longer in Bus.           0     (954) 981-1414   (951) 693-0658   A & M POWER TOOL REPAIR          150-M LOS OBREROS LANE           SAN CLEMENTE         CA            92672
 6               U                  1     (714) 540-3060   (714) 540-3055   A & W ELECTRIC MOTORS            c/o SUPERIOR ELECTRIC MTR SVCE   VERNON               CA            90058
 7               U                  1     (904) 782-3707   (904) 282-3707   A 1 TOOL REPAIR                  1851 BLANDING BLVD               MIDDLEBURG           FL            32068
 8               U                  1     (503) 458-6292   (503) 458-6299   A F DICK MANUFACTURING INC       92640 ABBOT ROAD                 ASTORIA              OR            97103
 9       No Longer in Bus           0     (215) 482-9100   (215) 487-2150   A J LA COURSE, INC               275 LEVERINGTON AVENUE           PHILADELPHIA         PA            19127
10               C                  1     (951) 735-3009   (951) 735-4367   A M ELECTRIC TOOL REPAIR & SUP   325 E GRAND BLVD                 CORONA               CA            92879
11               U                  1     (858) 565-4131   (858) 292-9263   A O REED & CO *                  P O BOX 85226                    SAN DIEGO            CA       92186-5226
12       No Longer in Bus           0     (303) 623-3743   (303) 623-7422   A PRO TOOL INC                   1950 W 13TH AVE UNIT 2           DENVER               CO            80204
13               U                  1     (724) 658-8041   (724) 657-2075   A SERVEDIO ELECTRIC MOTOR SV     634 E WASHINGTON STREET          NEW CASTLE           PA            16101
14                                  0     (303) 232-7417   (303) 623-7422   A TO Z RENTER CENTER INC         11900 W COLFAX AVE               LAKEWOOD             CO            80215
15                                  0     (301) 572-2929   (301) 572-4473   A TOTAL RENTAL CENTER *          10700 HANNA ST                   BELTSVILLE           MD            20705
16              C                   1     (970) 482-9930   (970) 482-9931   A Z SALES & SERVICE              1554 RIVERSIDE AVE               FORT COLLINS         CO            80524
17              C                   1     (386) 734-3244   (386) 734-3244   A-1 ELECTRIC MOTOR SV            227 W BERESFORD AVE              DELAND               FL            32720
18       No Longer in Bus           0     (419) 626-4053   (419) 626-1858   A-1 RENTAL INC                   1415 CLEVELAND ROAD              SANDUSKY             OH            44870
19             U                    1     (303) 424-4456   (303) 403-4988   A-1 RENTAL SERVICE, LTD INC      7080 W 38TH AVENUE               WHEAT RIDGE          CO            80033
20             U                    1     (623) 842-1321   (623) 842-1390   A-1 STAPLERS & NAILERS           4204 W DUNLAP AVENUE             PHOENIX              AZ            85051
21       No Longer in Bus           0     (805) 796-2623   (805) 484-2704   A-CECO                           P O BOX 3008                     CAMARILLO            CA            93011
22             U                    1     (503) 227-2580   (503) 227-2743   A-LINE CONCRETE CUTTING LLC      P O BOX 6219                     VANCOUVER            WA            98668
23                                  0     (661) 949-5811   (661) 919-5821   A.V. DIALYSIS CENTER             44203 15TH ST. WEST              LANCASTER            CA            93534
24              U                   1     (914) 949-0585   (914) 949-8034   A&C / FURIA ELECTRIC MOTORS      75 LAFAYETTE AVE.                NORTH WHITE PLAINS   NY            10603
25              C                   1     (303) 776-6031   (303) 678-1304   AAA ELECTRIC CO *                24 S. MAIN STREET                Longmont             CO            80501
26              C                   1     (214) 823-1823   (214) 428-2751   AAA ELECTRIC MOTORS              2405 S HARWOOD STREET            DALLAS               TX            75215
27              U                   1     (213) 749-2367   (213) 749-2106   AAA ELECTRIC MTR SERVICE *       1346 VENICE BLVD                 LOS ANGELES          CA            90006
28                                  0     (661) 947-5886   (661) 947-4706   AAA SAW SHOP                     38644 6TH STREET E               PALMDALE             CA            93550
29             U                    1     (800) 228-6652   (954) 989-5738   AAA TOOL & SAW SVCE              1450 S STATE ROAD 7              HOLLYWOOD            FL            33023
30             U                    1     (713) 526-8781   (713) 526-9210   AALLEN MEDICAL EQUIPMENT         4826 FANNIN STREET               HOUSTON              TX            77004
31             U                    1     (512) 326-8181   (512) 326-3130   AAN RENTOOLS, INC.               DBA AUSTIN RENT WAY              AUSTIN               TX            78745
32       No Longer in Bus           0     (408) 439-4753   (408) 371-8743   ABBA MEDICAL SERVICES INC        3348 MERIDIAN AVE                SAN JOSE             CA            95124
33              C                   1     (713) 937-7217   (713) 937-6977   ABC ELECTRIC MOTOR REPAIR        6040 BRITTMOORE RD SUITE L       HOUSTON              TX            77041
34             U                    1     (888) 572-3888   (330) 220-4949   ABC EQUIPMENT RENTAL AND SALES   29 PEARL ROAD                    BRUNSWICK            OH            44212
35              C                   1     (410) 282-2550   (410) 575-7531   ABC RENTAL CENTER                8031 NORRIS LANE                 DUNDALK              MD            21222
36             U                    1     (651) 451-2264   (651) 457-3620   ABC RENTALS INC                  460 EAST VILLAUME AVENUE         SOUTH SAINT PAUL     MN            55075
37             U                    1     (516) 294-6850   (516) 294-6823   ABCO PEERLESS SPRINKLER CORP     50 MIDLAND AVENUE                HICKSVILLE           NY       11801-1510
38                                  0     (480) 460-8282   (480) 460-8284   ABCOMED, INC.                    1334 E CHANDLER BLVD STE 5-D31   PHOENIX              AZ            85048
39              C                   1     (916) 381-2222   (916) 381-2335   ABE JANITORIAL SPLY & EQUIP      6015 POWER INN ROAD, STE K       SACRAMENTO           CA       95824-2320
40       No Longer in Bus           0     (989) 471-2445   (989) 471-5440   ABEND ELECTRIC                   1120 HURBERT ROAD                SPRUCE               MI       48762-9606
41             U                    1     (510) 886-0800   (510) 315-0609   ABILITY ACCESS LLC               IMAGINE THE REALITY              Hayward              CA       94544-7603
42             U                    1     (858) 541-0552   (858) 541-1941   ABILITY CENTER                   4797 RUFFNER ST                  SAN DIEGO            CA            92111
43       No Longer in Bus           0     (209) 572-2273   (209) 572-1625   ABILITY MEDCO                    1300 N. 9TH ST SUITE C           MODESTO              CA            95350
44                                  0     (714) 754-5078   (714) 754-5124   ABLE C/O CITY OF COSTA MESA      99 FAIR DRIVE                    COSTA MESA           CA            92626
45                                  0     (816) 587-4640   (816) 587-5320   ABLE CARE HEALTH SERVICES        5911 NW BARRY ROAD               KANSAS CITY          MO            64154
46              U                   1     (503) 232-8056   (503) 232-9845   ABLE EQUIPMENT INC               615 SE CLAY STREET               PORTLAND             OR            97214
47              U                   1     (727) 586-2995   (727) 588-0899   ABLE MEDICAL                     1280 MISSOURI AVE. NORTH         LARGO                FL            33770
48                                  0     (727) 586-2995   (727) 588-0899   ABLE MEDICAL                     1280 MISSOURI AVE NORTH          LARGO                FL            33770
49       No Longer in Bus           0     (508) 893-9500   (508) 893-9501   ABM HEALTH, INC                  ATTN: Accounts Payable           HOLLISTON            MA             1746
50                                  0     (913) 831-7800   (913) 831-4824   ABOUT YOUR HEALTH                5042 LAMAR AVE                   MISSION              KS            66202
51             U                    1     (800) 660-4132   (207) 472-4142   ACADIA HOME CARE                 PO BOX 630                       FORT FAIRFIELD       ME             4742
52       No Longer in Bus           0     (408) 434-6800   (408) 434-6880   ACCELERATOR SYSTEMS INT'L        2405 QUME DRIVE                  SAN JOSE             CA            95131
53             U                    1     (423) 693-1514   (423) 693-4530   ACCESS MEDICAL                   PO BOX 53630                     KNOXVILLE            TN            37950
54             U                    1     (317) 784-2255   (317) 784-6391   ACCESS MOBILITY INC              5240 ELMWOOD AVENUE              INDIANAPOLIS         IN            46203
55             U                    1     (818) 244-6571   (818) 247-6533   ACCO ENGINEERED SYSTEMS          FILE #95031                      GLENDALE             CA       91201-2214
56                                  0     (847) 541-9500   (847) 419-4140   ACCO NORTH AMERICA ****          300 TOWER PARKWAY                LINCOLNSHIRE         IL       60069-3540




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57                U                  1     (323) 727-7765   (323) 727-9477   ACCO/ AIR CONDITIONING CO, INC   3333 MALT AVENUE               COMMERCE           CA            90040
58                C                  1     (714) 546-2162   (714) 546-9676   ACCURATE CIRCUIT ENGINEERING     3019 S. KILSON DRIVE           SANTA ANA          CA            92707
59                C                  1     (651) 771-0112   (651) 771-0155   ACCURATE ELECTRIC CO             845 PAYNE AVE                  ST PAUL            MN            55101
60                U                  1     (562) 903-0200   (562) 903-0393   ACCURIDE INTERNATIONAL INC.      12311 SHOEMAKER AVENUE         SANTA FE SPRINGS   CA            90670
61                U                  1     (760) 734-4177   (760) 734-4188   ACCUTEK PACKAGING EQP CO         1399 SPECIALTY DRIVE           VISTA              CA       92083-8521
62                                   0     (608) 223-0625   (608) 223-0609   ACCUWEB, INC                     PO BOX 7816                    Madison            WI            53707
63               U                   1     (707) 586-4490   (707) 586-4720   ACE ELECTRIC SERVICE             5531 STATE FARM DRIVE          Rohnert Park       CA            94928
64               C                   1     (703) 532-5600   (703) 237-9021   ACE TOOL RENTAL, INC             P O BOX 28                     FALLS CHURCH       VA            22040
65               U                   1     (562) 802-0998   (562) 802-5069   ACHEM INDUSTRIAL AMERICA, INC    13226 ALONDRA BLVD             CERRITOS           CA            90703
66                                   0     (920) 452-3389   (920) 452-1027   ACME ARMATURE WORKS              wka Sheboygan Armature Works   SHEBOYGAN          WI            53083
67                                   0     (701) 258-1267   (701) 258-1292   ACME ELECTRIC                    3840 E ROSSER AVE              BISMARCK           ND       58501-3314
68                                   0     (701) 839-2263   (701) 839-2253   ACME ELECTRIC                    700 20TH AVE SE                MINOT              ND            58701
69               C                   1     (701) 746-6481   (701) 839-2253   ACME ELECTRIC MTR INC *          P O BOX 13720                  GRAND FORKS        ND       58208-3720
70               C                   1     (817) 834-6666   (817) 834-6669   ACME TOOL REP/BRAD KAY           2205 MONEDA STREET             HALTOM CITY        TX            76117
71               C                   1     (208) 431-7318   (208) 678-7318   ACME TOOL REPAIR                 293 SO. 598 W                  HEYBURN            ID            83336
72        No Longer in Bus           0     (949) 645-8212   (949) 645-8215   ACTION GEAR & BROACHING          1717 MONROVIA AVE.             COSTA MESA         CA            92627
73               C                   1     (541) 726-6517   (541) 726-9665   ACTION RENTAL & PARTY TIME       4340 FRANKLIN BLVD             EUGENE             OR            97403
74        No Longer in Bus           0     (407) 331-3303   (407) 331-5484   ACTIVE MOBILITY                  102 LIVE OAKS BLVD.            CASSELBERRY        FL            32707
75              U                    1     (208) 287-5556   (208) 287-5579   ADA COUNTY CORONER               5550 MORRIS HILL               BOISE              ID            83706
76              U                    1     (713) 937-0968   (713) 937-0468   ADAMS ELECTRIC MOTOR SHOP        10134 SUSSEX                   HOUSTON            TX            77041
77              U                    1     (805) 748-6453   (804) 796-2037   ADAMSON GLOBAL TECHNOLOGY        P O BOX 6246                   KINSTON            NC            28501
78        No Longer in Bus           0     (972) 240-2326   (972) 240-4532   ADAPT INC.                       435 WEST I-30                  GARLAND            TX            75043
79        No Longer in Bus           0     972/240-2326     972/240-4532     ADAPT MEDICAL                    435 W. I-30                    GARLAND            TX            75043
80               C                   1     (702) 876-9800   (702) 367-8098   ADDISON CONSTRUCTION SUPPLY      5685 SOUTH CAMERON             LAS VEGAS          NV            89118
81              U                    1     (740) 779-7419   (740) 779-7720   ADENA HEALTH SYSTEM              272 HOSPITAL RD                CHILLICOTHE        OH            45601
82              U                    1     (323) 721-6468   (323) 721-3430   ADVANCE ELECTRIC MOTOR           1915 W. WHITTIER BLVD          MONTEBELLO         CA            90640
83               C                   1     (503) 238-3944   (503) 238-3926   ADVANCE ELECTRIC MOTORS          1612 SE BROOKLYN STREET        Portland           OR            97202
84              U                    1     (502) 955-1233   (502) 955-1235   ADVANCE ELECTRIC MTR & PUMP      292 ARNOLD DRIVE, UNIT1        SHEPERDSVILLE      KY            40165
85               C                   1     (562) 691-0918   (562) 691-5482   ADVANCE FIRE PROTECTION CO       1451 WEST LAMBERT ROAD         LA HABRA           CA            90631
86              U                    1     (619) 562-3373   (619) 562-3450   ADVANCED AIR & POWER             1685 MARSHALL AVENUE           EL CAJON           CA            92020
87              U                    1     (609) 671-1200   (609) 671-1213   ADVANCED CLINICAL CONSULTING     1478 PROSPECT STREET           EWING              NJ             8638
88               C                   1     714-895-5544     714-903-5419     ADVANCED COMPOSITE PROD & TECH   1502 CHEMICAL LANE             Huntington Beach   CA            92649
89                                   0     (608) 781-2627   (608) 781-2628   ADVANCED ELECTRIC EQUIPMENT SV   2411 LARSON STREET             LA CROSSE          WI            54603
90                                   0     (808) 242-2676   (808) 242-2292   ADVANCED MEDICAL                 1364 KILOU ST.                 WAILUKU            HI            96793
91               U                   1     (949) 492-3113   (949) 492-6480   ADVANCED MP TECHNOLOGY           1010 CALLE SOMBRA              SAN CLEMENTE       CA            92673
92               U                   1     (909) 949-9944   (909) 949-2244   ADVANCED SYSTEMS SERVICES, INC   1082 AIRPORT DRIVE             UPLAND             CA            91786
93               U                   1     (410) 876-8200   (410) 386-4544   ADVANCED VACUUM COMPANY, INC     1215 BUSINESS PKWY NORTH       Westminster        MD            21157
94               U                   1     (815) 727-6644   (815) 727-6644   ADVOCATE HEALTHCARE              11065 Petal St                 DOWNERS GROVE      IL            60515
95               U                   1     (630) 929-8107   (630) 929-9825   ADVOCATE HEALTHCARE              ATTN: ACCOUNTS PAYABLES        DOWNER GROVE       IL            60515
96                                   0     (930) 929-8107   (630) 929-9825   ADVOCATE HEALTHCARE              P.O. BOX 3367                  DOWNERS GROVE      IL            60515
97        No Longer in Bus           0     (316) 943-6100   (316) 943-2917   AERO ELECTRIC INC *              P O BOX 3807                   WICHITA            KS       67201-3807
98              U                    1     (866) 359-5287   (316) 943-2917   AEROSPACE TURBINE RTBLS          1919 NORTHERN                  WICHITA            KS            67216
99        No Longer in Bus           0     978/762-8777     978/762-0006     AFFILIATED CLINICAL ENG SVCS     TWO ELECTRONICS AVENUE         DANVERS            MA             1923
100       No Longer in Bus           0     (207) 673-6734   (207) 973-6763   AFFILIATED MATERIAL SERVICES     ATT: ACCOUNTS PAYABLE          BANGOR             ME             4401
101             U                    1     (954) 484-7599   (954) 484-9060   AFFORDABLE MEDICAL SUPPLIES      5333 NORTH STATE RD. 7         TAMARAC            FL            33319
102              C                   1     (806) 360-2000   (806) 364-1602   AG AGRICULTURAL ELECTRIC         301 E. 1ST STREET              HEREFORD           TX            79045
103                                  0     (562) 789-9611   (562) 789-9711   AGILIS MOBILITY SYSTEMS          12405 SLAUSON AVE. SUITE A     WHITTIER           CA            90606
104              C                   1     (908) 241-6930   (908) 241-6931   AIR & ELECTRIC TOOL SERVICE      130 WEST 3RD AVENUE            ROSELLE            NJ             7203
105              U                   1     (714) 475-6690   (714) 475-6692   AIR & POWER TOOL SPECIALISTS     12025 170TH STREET             ARTESIA            CA            90701
106              U                   1     (800) 998-1974   (909) 629-3236   AIR CLEANING SYSTEMS             1966 W. HOLT AVENUE            POMONA             CA            91768
107                                  0     (541) 461-1714   (541 461-8865    AIR TOOL MAINTENANCE             420 RIVER ROAD                 EUGENE             OR            97404
108       No Longer in Bus           0     (336) 835-3093   (336) 835-3093   AIR TOOL SERVICE CTR             587 COOL SPRINGS CHURCH RD     ELKIN              NC            28621
109             U                    1     (305) 770-3841   (305) 652-6408   AIR-EZE SCIENTIFIC SERVICES      2034 THOMAS ST.                HOLLYWOOD          FL            33020
110             U                    1     (817) 354-4144   (817) 354-1667   AIRLINE COMPONENT PARTS LLC      1111 STANLEY DR.               EULESS             TX            76040
111             U                    1     (303) 355-2391   (303) 355-6572   AIS INDUSTRIAL CONST. SUP.       P O Box 172169                 Denver             CO            80217
112              C                   1     (503) 249-2900   (503) 249-3874   AKHURST MACHINERY INC            2225 NORTH WILLIAMS            PORTLAND           OR            97227




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113               U                  1     (330) 384-6470   (330) 384-1914   AKRON GENERAL MEDICAL CTR        400 WABASH AVE                   AKRON               OH            44307
114                                  0     (805) 650-9003   (805) 650-9023   AL-KAR TOOL REPAIR *             1746-F S VICTORIA AVE., STE413   VENTURA             CA            93003
115              U                   1     (650) 968-1905   (650) 968-3866   AL-TAR SERVICES                  740 SIERRA VISTA AVE. SUITE H    MOUNTAIN VIEW       CA            94043
116              C                   1     (205) 592-8944   (205) 592-8953   ALABAMA CONSTRUCTION SUPPLY*     4900 5TH AVE SOUTH               BIRMINGHAM          AL            35232
117              C                   1     (205) 251-8156   (205) 592-8953   ALABAMA JACK CO INC              1140 5TH AVE N                   BIRMINGHAM          AL            35203
118              U                   1     (336) 538-7761   (336) 538-7722   ALAMANCE REGIONAL MEDICAL CTR    P.O. BOX 202                     BURLINGTON          NC            27215
119                                  0     (210) 520-6518   (210) 520-6518   ALAMO MEDREP                     9354 BRUSHY POINT                SAN ANTONIO         TX            78250
120             U                    1     (907) 696-3704   (907) 696-3706   ALASKA VETERINARY PATHOLOGY      P.O. BOX 773072                  EAGLE RIVER         AK            99577
121              C                   1     (210) 674-6950   (210) 674-6954   ALCO RENT ALL INC                1505 NW 36TH STREET              SAN ANTONIO         TX            78228
122             U                    1     (630) 655-1900   (630) 655-7173   ALCO SALES & SERVICE CO.         6851 HIGH GROVE BLVD.            BURR RIDGE          IL            60527
123             U                    1     (949) 552-7617   (949) 552-6486   ALEX INTERNATIONAL               4641 CHARNOCK DRIVE              IRVINE              CA            92604
124       No Longer in Bus           0     (651) 697-0541   (651) 697-0944   ALEXANDER PARKER PHARMACEUTICA   2665 LONG LAKE ROAD SUITE 330    ROSEVILLE           MN            55113
125             U                    1     (559) 686-4532   (559) 686-5834   ALEXANDERS ELECTRIC MOTOR SHOP   996 NO J ST                      TULARE              CA            93274
126             U                    1     (847) 437-5500   (630) 285-1615   ALEXIAN BROTHERS MEDICAL CTR     800 BIESTERFIELD ROAD            ELK GROVE VILLAGE   IL            60007
127              C                   1     (818) 785-9306   (818) 785-0958   ALL AMERICAN AIR COMPRESSOR CO   5927 KESTER AVENUE               VAN NUYS            CA            91411
128              C                   1     (800) 688-2323   (325) 653-8714   ALL AMERICAN PUMP & MACH INC     1310 N BELL ST                   SAN ANGELO          TX       76903-4705
129             U                    1     (253) 845-1938   (253)845-6141    ALL ELECTRIC MOTOR               5507 Milwaukee Ave E             PUYALLUP            WA       98372-3599
130             U                    1     (530) 888-6211   (530) 888-0869   ALL ELECTRIC MOTOR               1452 CANAL STREET                AUBURN              CA            95603
131                                  0     (253) 845-1938   253-307-3487     ALL ELECTRIC MOTOR               5507 MILWAUKEE AVE E             PUYALLUP            WA       98372-3599
132              C                   1     (503) 255-5005   (503) 255-5010   ALL IN ONE MOBILITY              12833 N.E. AIRPORT WAY           PORTLAND            OR            97230
133             U                    1     (803) 779-2011   (803) 779-4678   ALL MEDICAL, INC.,               2011 HAMPTON ST.                 COLUMBIA            SC            29204
134       No Longer in Bus           0     (913) 432-3200   (913) 789-8902   ALL METRO TOOL REPAIR            1232A SOUTHWEST BLVD             KANSAS CITY         KS            66103
135             U                    1     (318) 221-8315   (318) 221-8314   ALL PHASE MOTOR WORKS INC        1616 MARKET ST                   SHREVEPORT          LA            71101
136                                  0     (847) 301-4000   (847) 301-4040   ALL POWER TOOL                   2130 PALMER DRIVE                SCHAUMBERG          IL            60173
137              C                   1     (818) 340-0974   (818) 340-5553   ALL SAFE ELECTRIC INC            7057 CANOGA AVE                  CANOGA PARK         CA            91303
138             U                    1     (707) 429-3884   (707) 429-5285   ALL STAR RENTS(dba) many locat   FAIRFIELD RENTAL SERVICE         Fairfield           CA            94533
139              C                   1     (559) 252-2879   (559) 637-7555   ALL TOOL SERVICE & SUPPLY        3780 KILROY AIRPORT WAY #110     FRESNO              CA            93706
140             U                    1     (559) 252-2879   (559) 255-7492   ALL TOOL SERVICE & SUPPLY        2716 S. CHERRY AVE               FRESNO              CA            93706
141              C                   1     (808) 329-0516   (808) 329-0876   ALL TRADE INDUSTRIAL SUPPLY      73-5563 MAIAU ST                 KAILUA KONA         HI            96740
142              C                   1     (626) 572-4287   (626) 572-0562   ALL TRADES SUPPLY                3241 ISABEL AVENUE               ROSEMEAD            CA            91770
143              C                   1     (480) 894-8976   (480) 894-8990   ALL TRADES TOOL REPAIR           2420 W 1ST STREET, SUITE 55      TEMPE               AZ            85281
144             U                    1     (913) 371-9999   (913) 371-9998   ALLEN ARMATURE & ELECTRIC CO     10 S 18TH ST                     KANSAS CITY         KS            66102
145              C                   1     (650) 323-6155   (650) 323-5814   ALLEN EQUIPMENT CO               755 HAMILTON AVE                 MENLO PARK          CA            94025
146       No Longer in Bus           0     (956) 584-2000   (956) 584-2277   ALLEN INDUSTRIAL SUPPLY          1309 BUSINESS PARK DRIVE         MISSION             TX            78572
147                                  0     (626) 962-2712   (626) 960-2713   ALLEN TOOL COMPANY               14160 LIVE OAK AVE., UNIT F      BALDWIN PARK        CA            91706
148              U                   1     (318) 995-0880   (318) 995-0860   ALLENS ELECTRIC MOTOR SERVICE    P O BOX 700                      OIL CITY            LA            71061
149              U                   1     (330) 829-4011   (330) 829-4198   ALLIANCE COMMUITY HOSPITAL       264 E. RICE STREET               ALLIANCE            OH            44601
150              U                   1     562/921-0353     562/921-1404     ALLIANCE REHAB SERVICES          14535 VALLEY VIEW AVE SUITE U    SANTA FE SPRINGS    CA            90670
151       No Longer in Bus           0     (502) 629-2154   (502) 629-8247   ALLIANT HEALTH SYSTEM            PO BOX 35070                     LOUISVILLE          KY            40232
152             U, C                 0     (501) 474-5271   (501) 474-0193   ALLIED ELECTRICAL & POWER INC    2320 INDUSTRIAL PARK ROAD        VAN BUREN           AR       72956-1245
153             U, C                 0     (340) 775-5134   (340) 714-5200   ALLIED RENTAL CENTER             Signature confirm required       ST THOMAS           VI              802
154             U, C                 0     (651) 635-4468   (651) 638-0357   ALLINA-CES                       1895 W COUNTY ROAD C             ROSEVILLE           MN            55113
155              U                   1     (714) 521-9800   (714) 670-7632   ALLOY DIE CASTING                P O BOX 5073                     BUENA PARK          CA       90622-5073
156              C                   1     (928) 757-1252   (928) 757-1254   ALLSTATE ELECTRIC KINGMAN DIV    4755 INTERSTATE WAY              KINGMAN             AZ            86401
157              C                   1     (602) 233-0500   (602) 233-0563   ALLSTATE ELECTRIC MOTOR CO INC   6025 W. MONROE STREET            PHOENIX             AZ       85043-3513
158              U                   1     (313) 386-0130   (313) 386-2908   ALLSTATE INDUSTRIAL EQUIPMENT    4534 WEBSTER STREET              ECORSE              MI       48229-0129
159              U                   1     (954) 981-1414   (954) 981-0200   ALLTOOL RENTAL CO                KELLER & FAMILY CO               HOLLYWOOD           FL            33023
160              U                   1     (209) 334-2464   (209) 334-4718   ALPHA ENTERPRISE CORP            23 MAXWELL STREET                LODI                CA            95240
161       No Longer in Bus           0     (909) 596-5400   (909) 398-1522   ALPHA SCIENTIFIC MEDICAL, INC.   1751 YEAGER AVE                  LA VERNE            CA            91750
162              C                   1     (530) 583-0600   (530) 583-0189   ALPINE POWER EQUIPMENT           2770 LAKE FOREST ROAD            TAHOE CITY          CA            96145
163              C                   1     (440) 232-7090   (440) 232-8798   ALS HIGH TECH INC                135 NORTHFIELD ROAD              BEDFORD             OH            44146
164              U                   1     (713) 892-8813   (713) 862-3926   ALSAY-TEXAS CORP                 1233 W 34TH STREET               HOUSTON             TX            77018
165              C                   1     (408) 422-7447   (408) 422-3860   ALSOP ELECTRIC MOTOR SHOP        805 VERTIN AVENUE                SALINAS             CA            93901
166              U                   1     (510) 204-1399   (510) 204-4220   ALTA BATES MEDICAL CTR.          350 HAWTHORNE AVE.               OAKLAND             CA       94609-3108
167              C                   1     (619) 224-2720   619-258-2565     ALTERNATE SOURCE IND TOOL *      P O BOX 710881                   SANTEE              CA       92072-0881
168                                  0     (949) 768-5416   (949) 859-2892   ALTERNATE TRANSPORTATION         22336 CAMINITO ESCOBEDO          LAGUNA HILLS        CA            92653




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169               U                  1     (978) 251-7077   (978) 251-7252   ALTERNATIVE CARE PROVIDERS       51 MIDDLESEX ST., UNIT 103       NORTH CHELMSFORD   MA             1863
170               U                  1     (814) 946-2135   (814) 946-7733   ALTOONA HOSPITAL                 620 HOWARD AVE                   ALTOONA            PA            16601
171               C                  1     619-440-5531     619-387-1862     ALTURDYNE POWER SYSTEMS, LLC.    660 STEELE ST                    El Cajon           CA            92020
172               C                  1     (907) 222-9500   (907) 222-9501   ALUTIIQ, LLC **                  3909 ARCTIC BLVD, STE 400        Anchorage          AK            99503
173       No Longer in Bus           0     (310) 644-4001   (310) 644-5153   AMERICAN APPAREL                 12537 CELISE AVENUE              HAWTHORNE'         CA            90250
174               U                  1     (318) 222-0746   (318) 222-0724   AMERICAN ARMATURE & POWER TOOL   2044 TEXAS AVE                   SHREVEPORT         LA            71103
175               C                  1     (419) 448-1926   (419) 448-1950   AMERICAN ARMATURE CORP           980 MORGAN AVE                   TIFFIN             OH            44883
176               U                  1     (714) 898-9951   (714) 895-9143   AMERICAN AUTOMATED ENGINEERING   dba AAE AEROSPACE                Huntington Beach   CA            92649
177               U                  1     (913) 383-3456   (913) 383-3797   AMERICAN CARE EQUIPMENT          8116 NEWTON STREET               OVERLAND PARK      KS            66204
178               U                  1     (620) 343-3821   (620) 343-9051   AMERICAN ELECTRIC CO (CED)       510 FUNSTON STREET               EMPORIA            KS            66801
179               C                  1     (760) 591-3503   (760) 591-3561   AMERICAN GRANITE RESOURCES, IN   132 N LAS POSAS ROAD, SUITE A    SAN MARCOS         CA            92069
180       No Longer in Bus           0     (914) 789-7104   (914) 592-6317   AMERICAN HEALTH FOUND            ONE DANA ROAD                    VALHALLA           NY            10595
181               U                  1     (951) 686-3980   (909) 682-0203   AMERICAN HOME HEALTH CARE        6710 Brockton Avenue             RIVERSIDE          CA            92506
182               U                  1     (909) 686-3980   (909) 686-7911   AMERICAN HOME HEALTH CARE        6710 BROCKTON AVE.               RIVERSIDE          CA            92506
183                                  0     (909) 686-3980   (909) 686-7911   AMERICAN HOME HEALTH CARE        6710 BROCKTON AVE.               RIVERSIDE          CA            92506
184       No Longer in Bus           0     (580) 298-3669   (580) 298-6001   AMERICAN HOMEPATIENT             120 N HIGH ST                    ANTLERS            OK            74523
185       No Longer in Bus           0     (248) 332-6688   (248) 338-6361   AMERICAN MEDICAL SERVICES        825 W HURON ST                   PONITAC            MI            48341
186                                  0     770/419-3839     770/792-8181     AMERICAN MEDTECH SERVICES, INC   8110 TROON CIRCLE, STE 100       AUSTELL            GA            30168
187             U                    1     (270) 469-1391   (270) 469-1392   AMERICAN MOBILITY PRODUCTS       124 OLD US 68                    CAMPBELLSVILLE     KY            42718
188             U                    1     (562) 906-1655   (562) 906-1654   AMERICAN MONORAIL OF CA          10805 PAINTER AVENUE             SANTA FE SPRINGS   CA            90670
189             U                    1     (909) 390-5288   (909) 390-5293   AMERICAN PRESTO CORP             4001 E. SANTA ANA STREET         ONTARIO            CA            91761
190             U                    1     (787) 756-6616   (787) 756-8582   AMERICAN RENTAL TOOLS            233 ELEANOR ROOSEVELT STREET     SAN JUAN           PR              918
191             U                    1     972-801-9909     (972) 801-9920   AMERICAN TOOL & FASTENER         11065 PETAL ST.                  Dallas             TX            75238
192              C                   1     (978) 683-6207   (978) 683-6207   AMERICAN TOOL & SHARPENING SV    132 SO BROADWAY                  LAWRENCE           MA             1843
193       No Longer in Bus           0     (916) 919-3559   (916) 652-8808   AMERICAN TOOL REPAIR             4235 PACIFIC ST., UNIT E         Rocklin            CA            95677
194             U                    1     (310) 763-5500   (310) 763-5851   AMERICO INDUSTRIAL SUPPLY        1070 E DOMINGUEZ ST., UNIT B     CARSON             CA            90746
195             U                    1     (562) 200-7700   (562) 430-4774   AMONIX, INC                      1709 APOLLO CT                   SEAL BEACH         CA            90740
196                                  0     (702) 939-2336   (702) 261-0522   AMPAM - LAS VEGAS                5040 SOBB AVENUE                 LAS VEGAS          NV            89118
197              U                   1     (410) 848-8900   (410) 848-5233   ANCHOR PHARMACY #111             205 WASHINGTON HEIGHTS MED CTR   WESTMINSTER        MD            21157
198              U                   1     (800) 478-4200   (907) 278-2013   ANCHORAGE DAILY NEWS             PO BOX 149001                    ANCHORAGE          AK       99514-9001
199              U                   1     (541) 485-2800   (541) 485-7867   ANCO FASTENER SALES, INC         2130 W. 6TH AVE.                 EUGENE             OR            97402
200              U                   1     (864) 261-1403   (864) 261-1179   ANDERSON AREA MEDICAL CTR        800 NORTH FANT STREET            ANDERSON           SC            29621
201              U                   1     (559) 665-4477   (559) 665-3212   ANDERSON PUMP COMPANY INC        24719 ROBERTSON BLVD.            CHOWCHILLA         CA            93610
202              U                   1     (310) 768-1677   (310) 768-1613   ANDERSON REPAIR                  1524 W 178TH STREET              GARDENA            CA            90248
203              C                   1     (310) 320-9700   (310) 212-7101   ANDERSON SUPPLY INC              22107 SOUTH VERMONT AVENUE       TORRANCE           CA            90502
204             C, U                 0     (562) 437-0445   (562) 437-4795   ANDO ELECTRIC MOTORS             1999 W ANAHEIM ST                LONG BEACH         CA            90813
205              U                   1     (209) 521-0030   (209) 524-5945   ANDREWS ELECTRIC MOTOR WORKS     1603 MONO DR                     MODESTO            CA            95354
206              U                   1     603/752-2200     603/752-2376     ANDROSCOGGIN VALLEY HOSPITAL     59 PAGE HILL ROAD                BERLIN             NH             3570
207              C                   1     (904) 471-2991   (904) 471-7580   ANDY'S TAYLORS RENTAL            J-MAR, INC                       ST AUGUSTINE       FL            32080
208              C                   1     (562) 692-0876   (562) 699-2115   ANGELES WELDING SERVICES         9747 S NORWALK BLVD              SANTA FE SPRINGS   CA            90670
209              U                   1     (970) 259-3020   (970) 259-9766   ANIMAS ORTHOPEDIC ASSOCIATES     575 RIVERGATE LANE, SUITE 105    DURANGO            CO            81301
210              U                   1     (410) 267-1156   (410) 267-1199   ANNE ARUNDEL MEDICAL CENTER      64 FRANKLIN STREET               ANNAPOLIS          MD            21401
211              U                   1     (847) 307-4107   (847) 307-4103   ANODYNE CORP.                    1136 ROSE ROAD                   LAKE ZURICH        IL            60047
212              U                   1     (915) 823-3231   (915) 823-2574   ANSON GENERAL HOSPITAL           ACCOUNTS PAYABLE                 ANSON              TX            79501
213              U                   1     (760) 244-9349   (760) 244-3284   APEX RENTALS                     11286 I AVENUE                   HESPERIA           CA            92345
214                                  0     (775) 329-3076   (775) 329-8981   APEX SAW WORKS                   570 KIETZKE LANE                 RENO               NV            89502
215              U                   1     562-309-0369     562-309-0410     APFFELS FINE COFFEES             PO BOX 2506                      Santa Fe Springs   CA            90670
216              U                   1     (818) 713-1874   (818) 713-0879   APGUARD MEDICAL INC.             6325 DE SOTO AVE. - UNIT K       WOODLAND HILLS     CA            91367
217              U                   1     814-474-2207     814-474-2208     API SYSTEMS INC                  8031 AVONIA ROAD                 Fairview           PA            16415
218              C                   1     320-251-6461     320-251-5816     APPLIANCE REPAIR CENTER          1807 THIRD STREET NORTH          Saint Cloud        MN            56303
219              U                   1     (408) 371-8853   (408) 371-8854   APPLIANCE REPAIR EXPRESS         14894 CAMDEN AVENUE              SAN JOSE           CA            95124
220              U                   1     (602) 282-1417   (602) 243-6525   APRIA HEALTHCARE                 2202 E. UNIVERSITY               PHOENIX            AZ            85034
221                                  0     (818) 566-7254   (818) 566-7489   AQUA VITAE                       1146 N. CENTRAL AVE. #302        GLENDALE           CA            91202
222             U                    1     201/955-7081     201/955-7747     ARAMARK - WEST HUDSON HOSPITAL   206 BERGEN AVE.                  KEARNY             NJ             7032
223       No Longer in Bus           0     (704) 948-5737   (704) 948-5778   ARAMARK / CTS                    10510 TWIN LAKES PARKWAY         CHARLOTTE          NC            28269
224             U                    1     (720) 874-3625   (720) 874-3627   ARAPAHOE COUNTY CORONERS OFF     13101 E. BRONCOS PARKWAY         ENGLEWOOD          CO            80112




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225               U                  1     (323) 876-7100   (323) 876-1850   ARBUCKLE ELECTRIC INC            7548 SANTA MONICA BLVD           WEST HOLLYWOOD     CA            90046
226               U                  1     (760) 480-6604   (760) 480-6687   ARCADE AMUSEMENTS                802 W. WASHINGTON AVE. SUITE E   ESCONDIDO          CA            92025
227               U                  1     (912) 228-2722   (912) 228-8590   ARCHBOLD MEDICAL CENTER          P.O. BOX 1018                    THOMASVILLE        GA            31799
228               C                  1     (630) 252-4525   (630) 252-9843   ARGONNE NATIONAL LAB             9700 SOUTH CASS AVENUE           ARGONNE            IL            60439
229               U                  1     (602) 230-1400   (602) 230-7676   ARIZONA ORTHOPEDIC & FRACTURE    444 WEST OSBORN ROAD STE 200     PHOENIX            AZ            85013
230               C                  1     (501) 372-1493   (501) 372-1495   ARKANSAS FASTENING SYSTEMS       417 COLLINS                      LITTLE ROCK        AR            72202
231       No Longer in Bus           0     (508) 580-4245   (508) 580-1264   ARLEY CORPORATION                1115 W. CHESTNUT STREET          BROCKTON           MA             2301
232               U                  1     (801) 489-8911   (801) 489-5552   ARLINGTON SCIENTIFIC, INC.       1840 NORTH TECHNOLOGY DRIVE      SPRINGVILLE        UT            84663
233                                  0     (604) 879-6141   (604) 879-6974   ARMATURE ELECTRIC LTD            3811 N. FRAIZER WAY              BURNABY            BC           V5J 5J2
234              U                   1     (713) 697-8436   (713) 697-8442   ARMATURE WORKS INC               130 FRELS LANE                   HOUSTON            TX            77076
235              U                   1     (410) 633-6200   (410) 633-7559   ARONSON MEDICAL & RESPIRATORY    7826 WISE AVENUE                 BALTIMORE          MD            21222
236                                  0     (608) 873-8659   (608) 873-8897   ARPI OF USA                      140-2 BUSINESS PARK CIRCLE       STOUGHTON          WI            53589
237              U                   1     (619) 448-2512   (619) 448-2164   ARROW IMAGING, INC.              1937 FRIENDSHIP DR. #F           EL CAJON           CA            92020
238              U                   1     (612) 383-0570   (612) 383-0570   ARROW LABORATORY SPECIALISTS     11315 42ND PLACE NORTH           PLYMOUTH           MN            55441
239              C                   1     (562) 921-8521   (562) 407-5182   ARROWHEAD ELECTRIC               13950 ROSECRANS AVE. #. A        SANTA FE SPRING    CA            90670
240              U                   1     (801) 583-2787   (801) 583-2712   ARUP LABORATORIES                500 CHIPETA WAY                  SALT LAKE CITY     UT            84108
241              C                   1     702-459-2594     702-459-2571     ASHLAN CONCRETE CUTTING          2632 ABELS LANE                  Las Vegas          NV            89115
242              C                   1     (423) 983-2367   (423) 983-9043   ASSOCIATED ELECTRIC MOTOR SVCS   820 BINFIELD RD                  MARYVILLE          TN            37802
243              U                   1     (562) 921-9938   (562) 921-0439   ASSOCIATED GEAR                  13650 EAST BORA DR.              SANTA FE SPRINGS   CA            90670
244                                  0     (561) 998-0558   (561) 241-7060   AT HOME MEDICAL SUPPLY           1141 HOLLAND DR. #12.            BOCA RATON         FL            33487
245             U                    1     (913) 367-6600   (913) 367-6658   ATCHISON HOSPITAL                1301 N.2ND STREET                ATCHISON           KS            66002
246             U                    1     (310) 631-3400   (310) 885-5296   ATHEARN INC                      19010 LAUREL PARK RD             COMPTON            CA            90220
247             U                    1     (952) 351-3000   (801) 251-5931   ATK ALLIANT TECHSYSTEMS *****    ACCOUNTS PAYABLE                 MAGNA              UT       84044-0098
248       No Longer in Bus           0     (215) 624-0800   (215) 333-8662   ATLANTIC ELECTRIC MOTOR / AME    7347 STATE ROAD                  PHILADELPHIA       PA            19136
249              C                   1     (859) 485-7870   (859) 485-7873   ATLAS ELECTRIC MOTOR SERVICE     76 CUMMINGS DRIVE                WALTON             KY            41094
250             U                    1     (309) 693-3400   (309) 693-4164   ATS ADVANCE TECH SVCS***         8201 N. UNIVERSITY               PEORIA             IL            61615
251             U                    1     (330) 438-6331   (330) 453-4457   AULTMAN HOSPITAL                 2600 SIXTH STREET S.W.           CANTON             OH            44710
252              C                   1     (512) 312-0088   (512) 312-0988   AUSTIN ARMATURE WORKS            304 COMMERCIAL DRIVE             BUDA               TX            78610
253              C                   1     (775) 359-6584   (775) 359-1783   AUTO AND TRUCK ELECTRIC., INC    1267 GATOR WAY                   SPARKS             NV            89431
254              C                   1     (775) 329-0707   (775) 329-0447   AUTO DIESEL ELECTRIC             N C AUTO PARTS                   RENO               NV            89502
255              C                   1     (573) 888-9777   (573) 886-0790   AUTOMATIC TOOL & FASTENER INC    1809 SANTA FE PLACE              COLUMBIA           MO            65202
256             U                    1     626-812-7799     626-812-4488     AUTOMATION SOLUTIONS, INC        5277 N VINCENT ST. #45           Baldwin Park       CA            91706
257       No Longer in Bus           0     (714) 953-5663   (714) 953-5669   AVALON DISTRIBUTING              1701 E EDINGER AVE., BLDG I      SANTA ANA          CA            92705
258              C                   1     (619) 582-2245   (619) 582-2644   AZTEC RENTALS INC                6602 UNIVERSITY AVENUE           SAN DIEGO          CA            92115
259             U                    1     (918) 583-6274   (918) 583-6079   B & B ELECTRIC CO                501 N TRENTON                    TULSA              OK            74120
260              C                   1     (316) 267-1238   (316) 267-0599   B & B ELECTRIC MOTOR CO          332 LULU                         WICHITA            KS            67211
261              C                   1     435-703-9375     435-703-9376     B & B PUMPS AND MOTORS           988 W SUNSET BLVD, SOUTH         Saint George       UT            84770
262       No Longer in Bus           0     (828) 646-0500   (828) 646-0500   B & B RENTAL INC                 35 NEW CLYDE HWY                 CANTON             NC            28716
263                                  0     (214) 321-4111   (214) 321-4169   B & B SALES                      3636 N BUCKNER BLVD              DALLAS             TX            75228
264              C                   1     (281) 485-2461   (281) 485-8559   B & G ELECTRIC MOTOR SERVICE     P O BOX 1474                     PEARLAND           TX       77588-1477
265              U                   1     (360) 802-0363   (360) 802-1400   B & G INDUSTRIES, INC            501 GRIFFIN AVENUE               ENUMCLAW           WA            98022
266              C                   1     (812) 522-5607   (812) 522-5313   B & H ELECTRIC AND SUPPLY        740-C AVENUE                     SEYMOUR            IN            47274
267                                  0     (305) 633-5399   (305) 633-5660   B & H EQUIPMENT                  3300 NW 38 STREET                MIAMI              FL            33142
268       No Longer in Bus           0     (203) 734-1695   (203) 732-2438   B & J ELECTRIC MOTOR             30 MAPLE STREET                  ANSONIA            CT             6401
269       No Longer in Bus           0     (575) 894-1061   575 740-0918     B & J ELECTRIC MTR/POWER TOOL    712 N KRUGER                     TRUTH/CONSEQNCS    NM            87901
270              C                   1     (818) 965-5040   (818) 965-0542   B & K ELECTRIC WHOLESALE *       17110 E GALE AVE                 INDUSTRY           CA            91744
271       No Longer in Bus           0     (714) 850-9326   (714) 850-9816   B & R MEDICAL EQUIPMENT          2520 SOUTH FAIRVIEW AVE-STE A1   SANTA ANA          CA       92704-5334
272              C                   1     (626) 358-1836   (626) 303-5448   B & W INDUSTRIAL SALES CO INC    1065 HAMILTON ROAD               DUARTE             CA            91010
273              C                   1     (606) 525-8715   (606) 525-0993   B & W SUPPLY                     7108 DIXIE HWY                   FLORENCE           KY            41042
274              C                   1     (619) 748-3722   (619) 748-2663   B J RENTAL/RENTX                 13044 POWEY ROAD                 POWAY              CA            92064
275              C                   1     (760) 789-0931   (760) 789-0814   B J RENTALS/RENTX                2055 MAIN STREET                 RAMONA             CA            92065
276                                  0     (206) 931-0603   (206) 931-3446   B J s PARTS & SERVICE *          P O BOX 4248                     KENT               WA            98032
277             U                    1     (626) 419-6290   (626) 969-8198   B K INDUSTRIAL RESOURCES         939 N ORANGE AVENUE              AZUSA              CA            91702
278       No Longer in Bus           0     (206) 767-4449   (206) 767-4474   B.C. WHEEL COMPANY               6134 6TH AVE S.                  SEATTLE            WA       98108-3308
279             U                    1     (330) 315-1259   (330) 762-5505   B.W. ROGERS CO.                  71 CEDAR STREET                  AKRON              OH            44307
280              C                   1     (336) 766-7816   (336) 766-7881   B/4 & AFTER SERVICE INC                                           Clemmons           NC            27012




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281       No Longer in Bus           0     (415) 456-9210   (415) 456-1828   BACKS & BONES/HOME MED EQUIP.    917 C. STREET                  SAN RAFAEL         CA        94901-2805
282               C                  1     (937) 223-1914   (937) 223-1915   BAILEY FOOD MACHINES             867 VALLEY STREET              DAYTON             OH             45404
283                                  0     (502) 635-6348   (502) 635-6470   BAILEY TOOL & SUPPLY             1338 SO SHELBY STREET          LOUISVILLE         KY             40217
284              C                   1     (562) 949-1054   (562) 949-2325   BAKE MARK (WESTCO)               7351 CRIDER AVENUE             PICO RIVERA        CA             90660
285              U                   1     (870) 367-8676   (870) 367-1414   BAKER'S ELECTRICAL SUPPLIES      112 SOUTH EDWARDS STREET       MONTICELLO         AR             71655
286                                  0     (661) 327-2820   (661) 327-5069   BAKERSFIELD TOOL REPAIR *        P O BOX 71207                  BAKERSFIELD        CA             93387
287       No Longer in Bus           0     (562) 424-9444   (562) 988-0309   BALANCE ORTHOPAEDIC              FOOT AND ANKLE CENTER          LONG BEACH         CA             90806
288             U                    1     (916) 441-3023   (916) 451-0874   BALSHOR FLORIST                  2661 RIVERSIDE BLVD.           SACRAMENTO         CA             95818
289       No Longer in Bus           0     (334) 973-2855   (334) 973-0548   BAMA POWER TOOL REPAIR SV        11459 DAUPHIN ISLAND PKWY      THEODORE           AL             36582
290                                  0     (708) 455-6855   (708) 455-6860   BANAS SALES & SERVICE            9729 W GRAND                   FRANKLIN PARK      IL             60131
291             U                    1     (888) 272-3356   (937) 488-3038   BANNER HOME MEDICAL SUPPLY       2956 CEMETERY RD.              XENIA              OH        45385-9711
292             U                    1     (785) 235-3070   (758) 862-1510   BANNER MOBILITY RESOURCES, INC   231C SE 53RD ST                TOPEKA             KS        66609-1020
293              C                   1     (623) 842-0800   (623) 842-4808   BANNER TOOL CO                   6741 N 57TH AVE                GLENDALE           AZ             85301
294              C                   1     (989) 345-3905   (989) 345-4888   BANNING ELECTRIC                 1963 URBAN RIDGE RD            WEST BRANCH        MI             48661
295              C                   1     (205) 620-8100   (205) 664-1125   BAPTIST HEALTH SYSTEM            P.O. BOX 830605                BIRMINGHAM         AL        35283-0605
296       No Longer in Bus           0     (423) 632-5001   (423) 632-5016   BAPTIST HOSPITAL                 PO BOX 1788                    KNOXVILLE          TN             37920
297             U                    1     (810) 471-5400   (810) 471-0560   BARBARA BROWN & ASSOCIATES       24657 HALSTED ROAD             FARMINGTON HILL    MI             48335
298              C                   1     (562) 928-2570   (562) 806-2889   BARBER WELDING & MFG CO          7171 SCOUT AVENUE              BELL GARDENS       CA             90201
299       No Longer in Bus           0     (513) 548-0772   (513) 548-3487   BARGAS SALES & SERVICE           4672 ST RT 121                 GREENVILLE         OH             45331
300       No Longer in Bus           0     (973) 977-6737   (973) 977-6756   BARNERT HOSPITAL                 680 BROADWAY                   PATERSON           NJ              7514
301                                  0     (530) 542-3000   (530) 541-6104   BARTON MEMORIAL HOSPITAL         P.O. BOX 9578                  SOUTH LAKE TAHOE   CA             96158
302              U                   1     (217) 479-3400   (217) 243-8553   BARTON W STONE CHRISTIAN HOME    873 GROVE STREET               JACKSONVILLE       IL             62650
303              U                   1     (812) 985-5900   (812) 985-9103   BAS Evansville, inc              10424 Middle Mt. Vernon Road   Mount Vernon       IN             47620
304              U                   1     (503) 285-1855   (503) 285-0713   BASIC FIRE PROTECTION, INC       8135 NE MLK JR BLVD            PORTLAND           OR             97211
305              U                   1     (714) 744-4373   (714) 744-4363   BATAVIA WOODS MEDICAL COMPLEX    845 W. LA VETA, SUITE 110      ORANGE             CA             92868
306              U                   1     (660) 679-4135   (660) 679-6889   BATES COUNTY MEMORIAL            615 W. NURSERY                 BUTLER             MO             64730
307              U                   1     (616) 966-8012   (616) 966-8437   BATTLE CREEK HEALTH SYSTEM       P.O. BOX 1595                  BATTLE CREEK       MI        49016-1595
308              U                   1     (870) 508-1440   (870) 508-1657   BAXTER REGIONAL MEDICAL CENTER   624 HOSPITAL DR.               MOUNTAIN HOME      AR             72653
309              U                   1     (408) 971-1230   (408) 971-1262   BAY AREA FLOOR MACHINE CO        652 B CHARLES ST               SAN JOSE           CA             95112
310                                  0     (310) 326-5830   (310) 326-2638   BAY AREA RENTAL                  1624 W PACIFIC COAST HWY       HARBOR CITY        CA             90710
311             C, U                 0     (410) 437-5660   (410) 437-5880   BAY COUNTRY RENTALS              8017 FORT SMALLWOOD RD         BALTIMORE          MD             21226
312              C                   1     (940) 458-4019   (940) 458-4122   BCS SWITCHGEAR, INC              203 E. CHAPMAN DR              SANGER             TX             76266
313              U                   1     (508) 995-1767   (508) 990-7810   BEACON LUMBER/RENTAL             1069 SHAWMUT AVE               NEW BEDFORD        MA              2746
314              U                   1     402/223-6600     402/223-7589     BEATRICE STATE DEV CENTER        3000 LINCOLN BLVD              BEATRICE           NE             68310
315              U                   1     (503) 684-6600   (503) 684-5084   BEAVERTON HONDA YAMAHA           10380 SW CASCADE BLVD          TIGARD             OR             97223
316              U                   1     (503) 644-2101   (503) 626-8698   BEAVERTON PHARMACY               12250 S.W. CANYON ROAD         BEAVERTON          OR             97005
317              C                   1     (616) 269-3153   (616) 269-3689   BECKYS INDUSTRIAL SALES          10880 COUNTY ROAD 633          BUCKLEY            MI             49620
318              C                   1     (313) 563-4521   (313) 563-3993   BEECH SERVICES, LLC              2801 S BEECH DALY ROAD         DEARBORN           MI             48126
319              C                   1     (215) 779-7070   (215) 779-2452   BEELINE RENTALS                  3811 PERKIOMEN AVE             READING            PA             19606
320              C                   1     (303) 757-5661   (303) 758-5104   BELL PLUMBING AND HEATING        2150 S ABILENE STREET          AURORA             CO             80014
321              C                   1     (562) 866-7518   (562) 867-8158   BELLFLOWER ELECTRIC SVCE         10030 ARTESIA PL               BELLFLOWER         CA             90706
322              U                   1     (617) 484-3888   (617) 489-5149   BELMONT MEDICAL SUPPLY CO.       185 BELMONT STREET             BELMONT            MA              2178
323              U                   1     (323) 232-2371   (323) 232-1790   BENDER CCP, INC                  2150 E. 37TH STREET            Los Angeles        CA             90058
324              C                   1     (615) 331-3747   (615) 331-3078   BENEFAST INC.                    470 METROPLEX DRIVE STE.201    NASHVILLE          TN             37211
325              C                   1     (419) 668-6136   (419) 668-1960   BENNETT ELECTRIC, INC            211 REPUBLIC STREET            NORWALK            OH             44857
326              U                   1     402/398-6025     402/398-6804     BERGAN MERCY MEDICAL CENTER      7500 MERCY ROAD                OMAHA              NE             68124
327       No Longer in Bus           0     (800) 562-6530   (425) 254-3243   BERGEN BRUNSWIG MEDICAL          P.O. BOX 14214                 ORANGE             CA             92863
328              U                   1     (630) 627-9090   (630) 620-8904   BERLANDS HOUSE OF TOOLS *        1530 CENTRE CIRCLE             DOWNERS GROVE      IL             60015
329              C                   1     (714) 637-5550   (714) 637-8550   BEST INTERIORS INC               2100 E VIA BURTON              ANAHEIM            CA             92806
330              C                   1     (407) 831-2378   (407) 831-1935   BEST RENTAL CENTERS INC *        1450 E HIGHWAY 436             ALTAMONTE SPRS     FL        32701-6003
331              U                   1     (617) 632-1185   (617) 754-2061   BETH ISRAEL DEACONESS M.C.       P.O. BOX 15074                 BOSTON             MA              2215
332              U                   1     (561) 737-7733   (561) 364-8458   BETHESDA MEMORIAL HOSPITAL       2815 SOUTH SEACREST BLVD.      BOYNTON BEACH      FL             33435
333              C                   1     (323) 727-2887   (323) 727-2854   BEVERLY ORTHOPEDIC LABORATORY    237 E. BEVERLY BLVD            MONTEBELLO         CA             90640
334                                  0     (304) 263-9995   (304) 263-8193   BIEDLER ELECTRIC                 1390 CHARLES TOWN ROAD         MARTINSBURG        WV             25401
335             U                    1     (909) 677-5405   (909) 677-8242   BIG D'S POWER EQUIPMENT          41711 IVY STREET               MURRIETA           CA             92562
336       No Longer in Bus           0     (775) 355-5811   (775) 355-5822   BIG JOHN'S DISCOUNT TOOLS        52 GLENDALE AVENUE             SPARKS             NV             89431




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337               U                  1     (231) 796-6712   (231) 796-7588   BIG RAPIDS ORTHOPAEDICS          650 LINDEN                    BIG RAPIDS        MI            49307
338               C                  1     (614) 446-4360   (614) 446-7384   BIG RIVER ELECTRIC INC           299 UPPER RIVER RD            GALLIPOLIS        OH            45631
339               C                  1     510-638-8100     510-639-4053     BIGGE CRANE AND RIGGING CO.      10700 BIGGE AVENUE            San Leandro       CA            94577
340               U                  1     (405) 232-4799   (405) 232-5264   BILL'S WELDING EQUIP REPAIR      2006 S W 15TH STREET          OKLAHOMA CITY     OK            73108
341               U                  1     (586) 755-2300   (586) 755-2322   BINSON'S HOSPITAL SUPPLY         26834 LAWRENCE                CENTER LINE       MI            48015
342               U                  1     (801) 474-0900   (801) 474-0901   BIO-MED ENGINEERING, INC.        3080 S. STATE STREET          SALT LAKE CITY    UT            84115
343               U                  1     (787) 879-8155   (787) 879-8155   BIO-MEDICAL EQUIP REPAIR         CALLE ANTONIO R.BARCELO #72   ARECIBO           PR              612
344               C                  1     (909) 625-8256   (909) 625-8318   BIO-MEDICAL SERVICES INC         4950 SAN BERNARDINO STREET    Montclair         CA            91763
345                                  0     (770) 945-3117   (770) 945-3402   BIO-MEDICAL SERVICES, INC.       P.O. BOX 369                  SUWANEE           GA            30024
346                                  0     (706) 802-4669   (706) 624-2845   BIO-TECH                         703 MARTHA BERRY BL.          ROME              GA            30165
347              U                   1     (508) 752-1099   (508) 752-0993   BIOACTIVES                       1 DIX ST.                     WORCESTER         MA             1609
348                                  0     (781) 341-1444   (781) 341-4028   BIOMATIC TECHNOLOGIES INC.       292 PAGE STREET UNIT H        STOUGHTON         MA             2072
349       No Longer in Bus           0     (760) 735-3200   (760) 735-9605   BIOMED SERVICE & MEDICAL PROD.   352 ENGEL ST., STE. B         ESCONDIDO         CA            92029
350             U                    1     (805) 736-0243   (805) 735-5963   BIOMED SVCS OF SANTA BARBARA     P.O. BOX 1409                 LOMPOC            CA            93436
351             U                    1     (973) 663-3969   (973) 663-3976   BIOMED TECHNOLOGIES, INC         231 ESPANONG ROAD             Lake Hopatcong    NJ             7849
352       No Longer in Bus           0     (805) 489-6605   (805) 489-8643   BIOMEDICAL CLINICAL ENG.         1451 SIERRA DR.               ARROYO GRANDE     CA            93420
353       No Longer in Bus           0     (907) 456-3440   (907) 456-3440   BIOMEDICAL EQUIPMENT SVC         510 JUNEAU AVE                FAIRBANKS         AK            99701
354             U                    1     (806) 353-2571   (806) 354-9750   BIOMEDICAL SERVICES              P.O. BOX 51022                AMARILLO          TX            79159
355             U                    1     (225) 658-6455   (225) 658-2381   BIOMEDICAL SUPPORT SERVICES      P.O. BOX 1303                 ZACHARY           LA            70791
356             U                    1     (805) 736-0243   (805) 735-5963   BIOMEDICAL SVCS OF SANTA BARB    P.O. BOX 1409                 LOMPOC            CA            93438
357       No Longer in Bus           0     (405) 842-2517   (405) 842-3626   BIOMEDICAL TECHNOLOGIES, INC     7317 N. CLASSEN BLVD          OKLAHOMA CITY     OK            73116
358             U                    1     (858) 271-8961   (858) 271-8963   BIOTECHNICAL SERVICES, INC.      9373 ACTIVITY ROAD STE J      SAN DIEGO         CA            92126
359              C                   1     (866) 510-6562   (866) 510-6562   BIP CORPORATION                  1605 GRAND AVENUE             SAN MARCOS        CA            92078
360                                  0     (636) 717-3600   (636) 717-3685   BJC CLINICAL ENGINEERING ADM     1537 LARKIN WILLIAMS ROAD     FENTON            MO            63026
361                                  0     (253) 473-6040   (253) 473-9341   BLACK & DECKER                   3630 S CEDAR #C               TACOMA            WA            98409
362                                  0     (314) 821-8740   (314) 821-5302   BLACK & DECKER / DEWALT          11477 PAGE SERVICE DR         ST LOUIS          MO            63146
363             U                    1     (502) 366-6002   (502) 366-6255   BLC INDUSTRIES                   P.O. BOX 14187                LOUISVILLE        KY       40214-4801
364             U                    1     217-223-8400     217-223-5912     BLESSING HOSPITAL                P.O. BOX 7005                 QUINCY            IL       62305-7005
365              C                   1     (513) 891-3491   (513) 791-8829   BLUE ASH EQUIP RENTAL CTR        8970 BLUE ASH RD              CINCINNATI        OH            45242
366              C                   1     (707) 668-9770   (707) 668-9753   BLUE LAKE CASION & HOTEL         P O BOX 1128                  BLUE LAKE         CA       95525-1128
367              C                   1     (828) 258-0800   (828) 258-0880   BLUE RIDGE ELECTRIC MTR REP      P O BOX 16557                 ASHEVILLE         NC            28816
368             U                    1     (540) 638-8701   (540) 638-2017   BLUE RIDGE REHAB CENTER          P.O. BOX 4904                 MARTINSVILLE      VA            24115
369              C                   1     (434) 316-9115   (434) 455-7166   BLUE RIDGE RESPIRATORY & MED     2225 LANGHORNE ROAD           LYNCHBURG         VA            24501
370       No Longer in Bus           0     (214) 358-2363   (214) 358-3768   BLUEBONNET TOOL CO INC           P O BOX 541145                DALLAS            TX       75354-1145
371                                  0     (508) 879-4144   (508) 875-8046   BMA FRAMINGHAM                   4 VERNON STREET               FRAMINGHAM        MA             1701
372             U                    1     (214) 942-2900   (214) 942-3249   BMA OF DALLAS SOUTH              ATT: ACCOUNTS PAYABLE         DALLAS            TX            75208
373             U                    1     (214) 352-3553   (214) 352-2189   BMA SOUTH OAK CLIFF #1878        WYNNEWOOD VILLAGE CENTER      DALLAS            TX            75224
374              C                   1     (306) 482-1720   (306) 482-1725   BMT NORTHWEST LLC/BROWN TANK     100 TOWER BLVD. SUITE 101     ELMA              WA            98541
375             U                    1     (330) 545-6700   (330) 545-8601   BOARDMAN MEDICAL SUPPLY          300 N. STATE STREET           GIRARD            OH            44420
376       No Longer in Bus           0     (503) 233-6531   (503) 263-6774   BOB NAGEL DISTRIBUTING CO        2101 S E 7TH AVENUE           PORTLAND          OR            97214
377                                  0     (503) 267-3821   (503) 263-6774   BOBS MOTOR SHOP INC              1129 S BROADWAY               COOS BAY          OR            97420
378              C                   1     (561) 368-7430   (561) 368-8224   BOCA MEDICAL SUPPLY, LLC         OAKS MEDICAL COMPLEX          BOCA RATON        FL            33431
379             U                    1     (217) 443-0022   (217) 443-0027   BODINE ELECTRIC OF DECATUR       1845 N 22ND ST                DECATUR           IL            62525
380             U                    1     (361) 594-2941   (361) 594-2349   BOEDEKER PRECISION, INC          C/O BOEDEKER PLASTICS         SHINER            TX            77984
381             U                    1     (208) 384-7288   (208) 331-5745   BOISE PAPER HOLDINGS(Tharco)     P O BOX 990050                BOISE             ID       83799-0050
382              C                   1     (909) 921-1660   (909) 923-3319   BOMEL CONSTRUCTION CO *          1894 N MAIN ST                ORANGE            CA            92865
383              C                   1     (718) 654-8710   (718) 515-5821   BOSTON ROAD EQUIPMENT RENTALS    3211 BOSTON ROAD              BRONX             NY            10469
384       No Longer in Bus           0     (801) 292-7331   (801) 296-1703   BOUNTIFUL TOOL REPAIR & SUPPLY   543 W 100 NORTH               BOUNTIFUL         UT            84010
385       No Longer in Bus           0     (562) 490-0307   (562) 490-9660   BOWERS COMPANIES                 430 E. PACIFIC COAST HWY      LONG BEACH        CA            90806
386       No Longer in Bus           0     (559) 686-3301   (559) 686-5557   BOYDS ELECTRIC MOTOR INC         532 SO "M" STREET             TULARE            CA            93274
387             U                    1     (253) 572-7292   253/883-5041     BPI INC                          4813 PACIFIC HWY E.           FIFE              WA            98424
388       No Longer in Bus           0     (253) 883-5040   (253) 883-5041   BPI MEDICAL                      4813 PACIFIC HWY E            FIFE              WA            98424
389             U                    1     (814) 362-8552   (814) 368-7796   BRADFORD REGIONAL M.C.           ATTN: ACCOUNTS PAYABLE        BRADFORD          PA            16701
390              C                   1     (423) 339-0075   (423) 339-0017   BRADLEY EQUIPMENT RENTALS        1010 S LEE HWY                CLEVELAND         TN       37311-5857
391             U                    1     (515) 276-4414   (515) 276-5081   BRADLEY FASTENER & SUPPLY        3917 66TH ST                  DES MOINES        IA       50322-2713
392              C                   1     (515) 331-0878   (515) 276-5081   BRADLEY TOOLS & FASTENERS INC    6250 NW BEAVER DR., #A4       JOHNSTON          IA            50131




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393               C                  1     (361) 882-4381   (361) 882-4385   BRADLEYS INC                     P O BOX 308                      Gregory            TX            78359
394               U                  1     (310) 984-2400   (310) 984-2467   BRAGG CRANE SERVICE *            6251 PARAMOUNT BLVD              LONG BEACH         CA            90805
395               C                  1     (361) 854-1851   (361) 854-1812   BRAND APPLIANCE & MICROWAVE      2751 S STAPLES STREET            CORPUS CHRISTIE    TX            78404
396               U                  1     (817) 838-5593   (817) 838-8937   BRANDON & CLARK, INC             2475 E. LONG AVENUE              FORT WORTH         TX            76106
397               C                  1     (626) 960-4981   (626) 337-5075   BRANDON INTERNATIONAL            5152 COMMERCE DRIVE              BALDWIN PARK       CA       91706-1450
398               C                  1     (512) 273-2282   (512) 273-2921   BRANNEN'S, INC. **               P O BOX 339                      Mc DADE            TX            78650
399               C                  1     (916) 534-8969   (319) 583-3072   BRASSELER USA                    1050 Willow Creek Rd Ste 1,      SAVANNAH           GA            31419
400               C                  1     (805) 650-5209   (805) 289-1099   BRASSELER USA                    4837 McGRATH STREET SUITE J      VENTURA            CA            93003
401                                  0     (912) 927-8671   (912) 921-7555   BRASSELER USA                    ONE BRASSELER BLVD               SAVANNAH           GA            31419
402              C                   1     (714) 952-8324   (714) 952-0107   BRAVO TECH, INC                  4260 CERRITOS AVENUE             LOS ALAMITOS       CA            90720
403       No Longer in Bus           0     (973) 728-6201   (973) 728-6202   BRAWLEY ALL SEASONS POWER EQP    54 MARSHALL HILL ROAD            WEST MILFORD       NJ             7480
404       No Longer in Bus           0     (512) 869-7940   (512) 869-0352   BRAYS A TO Z RENTAL INC          507 RIVER BEND DR                GEORGETOWN         TX            78628
405              C                   1     (317) 231-8080   (317) 231-8082   BREHOB CORPORATION *             P O BOX 2023                     INDIANAPOLIS       IN            46206
406              C                   1     (800) 632-4451   (317) 231-8082   BREHOB ELECTRIC                  PO BOX 2023                      INDIANAPOLIS       IN            46206
407              C                   1     (513) 738-1808   (513) 738-1832   BRENCO                           P O BOX 487                      ROSS               OH       45061-0487
408              U                   1     (901) 448-4119   (901) 448-4084   BRIAN H. BOWLING                 3265 LAUREL CREEK                BARTLETT           TN            38134
409              C                   1     (310) 318-1191   (310) 937-4293   BRIAN'S HARDWOOD FLOORING, INC   2013 ARTESIA BLVD                Redondo Beach      CA            90278
410              U                   1     (203) 384-4599   (203) 384-3587   BRIDGEPORT HOSPITAL              P.O. BOX 55110                   BRIDGEPORT         CT             6610
411             C, U                 0     714-348-8689     714-279-8084     BRITISH AUTO ELECTRIC            2722 E CARNIVAL AVE              Anaheim            CA            92806
412              U                   1     (316) 264-8600   (316) 264-1999   BROADWAY HOME MEDICAL            808 S. HILLSIDE                  Wichita            KS            67211
413              C                   1     (763) 533-1680   (763) 533-3227   BROADWAY RENTAL EQUIPMENT CO     6800 W BROADWAY                  MINNEAPOLIS        MN            55428
414              C                   1     (217) 472-8411   (217) 472-8421   BROCKHOUST SALES & SERVICE       212 CEDAR DRIVE, BOX 167         CHAPIN             IL            62628
415              U                   1     (718) 901-2200   (718) 901-2285   BRONX TOOL & EQUIPMENT           4295 THIRD AVENUE                BRONX              NY            10457
416              U                   1     (718) 240-5175   (718) 240-5290   BROOKDALE HOSPITAL               P.O. BOX 120321                  BROOKLYN           NY            11212
417              U                   1     703-938-4807     703-938-1273     BROOKE RENTAL CENTER             321 MILL STREET N.E.             Vienna             VA       22180-4525
418              U                   1     (209) 478-7847   (209) 956-3514   BROOKSIDE PODIATRY DR YABUMOTO   THE FOUNTAINS SUITE 203 WEST     STOCKTON           CA            95219
419              C                   1     (877) 628-8781   (877) 628-8727   BROOKSTONE EQUIPMENT SV          1600 W KATELLA AVE               ORANGE             CA            92867
420              C                   1     (206) 244-3171   (206) 244-5489   BROSSON TOOL / BROTHERS & SONS   10808 MYERS WAY SOUTH            SEATTLE            WA            98168
421              U                   1     (562) 920-9090   (562) 920-9596   BROTHERS JANITORIAL SUPPLY CO    16211 BELLFLOWER BLVD            BELLFLOWER         CA            90706
422              U                   1     (954) 583-9888   (954) 583-9866   BROWARD ARMATURE AND GENERATOR   340 SW 21ST TERRACE              FORT LAUDERDALE    FL            33312
423       No Longer in Bus           0     (954) 946-5950   (954) 943-8315   BROWARD MEDICAL SUPPLY           911 E ATLANTIC BLVD              POMPANO BEACH      FL            33060
424                                  0     (310) 952-7290   (310) 952-7390   BROWN & ROOT                     P O BOX 4906                     CARSON             CA       90749-4906
425              C                   1     (208) 344-6581   (208) 344-6586   BROWN RENTAL INC                 2905 OVERLAND ROAD               BOISE              ID            83705
426              C                   1     (516) 484-6070   (516) 484-1255   BRUCKNER SUPPLY COMPANY          36 HARBOR PARK DRIVE             PORT WASHINGTON    NY            11050
427              C                   1     (513) 242-1236   (513) 641-5308   BRUENEMAN RENTALS INC            1111 TENNESSEE AVE               CINCINNATI         OH            45229
428             U                    1     (800) 422-6786   (440) 255-7949   BRUNNER HEALTHCARE               8444 MENTOR AVE                  MENTOR             OH            44060
429             U                    1     (631) 789-7050   (631) 789-5614   BRUNSWICK HOSPITAL CENTER        366 BROADWAY                     AMITYVILLE         NY            11701
430              C                   1     (979) 821-5860   (979) 821-5795   BRYAN TEXAS UTILITIES            205 E 28TH STREET                BRYAN              TX            77805
431             U                    1     (661) 834-2700   (661) 834-0678   BS&E COMPANY INC                 6319 DISTRICT BLVD               Bakersfield        CA            93313
432              C                   1     (510) 452-4025   (510) 452-4027   BUCHANAN AUTO ELECTRIC           2300 MANDELA PKWY                OAKLAND            CA            94607
433              C                   1     (217) 223-2955   (217) 223-3143   BUD & RAYS REPAIR                701 N 5TH ST                     QUINCY             IL            62301
434             U                    1     (716) 887-4101   (716) 887-4373   BUFFALO GENERAL HOSPITAL         100 HIGH STREET                  BUFFALO            NY            14203
435              C                   1     (319) 366-8291   (319) 366-8294   BURESH EAST RENTAL               2901 1ST AVENUE S.E.             CEDAR RAPIDS       IA            52402
436       No Longer in Bus           0     (916) 335-5545   (916) 335-2867   BURNEY RENTAL CENTER             37400 MOUNTAIN VIEW RD           BURNEY             CA            96013
437              C                   1     (412) 337-3586   (412) 274-6455   BURRELL RENTAL & SALES           3251 LEECHBURG RD                LOWER BURRELL      PA            15068
438              C                   1     (903) 592-1557   (903) 592-4061   BURT ELECTRIC                    9763 CR 2285                     TYLER              TX            75707
439             U                    1     (334) 471-4455   (334) 471-4510   BUTLER & CO                      128 N BELTLINE HWY               MOBILE             AL            36607
440       No Longer in Bus           0     (415) 431-5526   (415) 431-6430   BUZZELL ELECTRIC WORKS           130 8TH STREET                   SAN FRANCISCO      CA            94103
441                                  0     (817) 834-6633   (817) 429-1135   C & D TOOL REPAIR *              aka HARDWARE ELECTRICAL SUPPLY   FORT WORTH         TX            76117
442                                  0     (435) 564-8319   (435) 524-3561   C & G MAINTENANCE                66 SOUTH SOLOMON STREET          FERRON             UT            84523
443              C                   1     (402) 677-9275   (402) 289-2193   C & S MOBILE TOOL REPAIR         646 S 215TH ST                   ELKHORN            NE            68022
444              C                   1     (501) 376-2310   (501) 376-0336   C & W TOOL & EQUIPMENT SUPPLY    1400 S MAIN ST                   LITTLE ROCK        AR            72202
445              C                   1     (517) 278-2611   (517) 278-8766   C E M SUPPLY, INC                178 W GARFIELD ROAD              COLDWATER          MI            49036
446       No Longer in Bus           0     (435) 789-2170   (435) 789-2175   C G ELECTRICAL SERVICES CO       1409 S 1500 E #8                 VERNAL             UT            84078
447              C                   1     (541) 664-4099   (541) 664-6896   C J RENTALS                      4460 TABLE ROCK ROAD #5          CENTRAL POINT      OR            97502
448              C                   1     (904) 215-0700   (904) 215-0710   C J'S TOOLS & FASTENERS, INC     P O BOX 843 (MAIL ONLY)          ORANGE PARK        FL       32067-0843




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      Cred. App, Update on File      505          PHONE             FAX                     COMPANY NAME                        ADDRESS               CITY      STATE   ZIP
449                                   0     (317) 852-7394   (317) 852-7860   C T POWER TOOL REPAIR            5440 N COUNTY ROAD 900 E     BROWNSBURG         IN            46112
450       No Longer in Bus            0     (814) 443-3194   (814) 445-3894   C. E. SERVICES, INC.             368 REBECCA STREET           SOMERSET           PA            15501
451                                   0     (973) 470-3000   (973) 470-3411   C.E.M.C.                         211 PENNINGTON AVE.          PASSAIC            NJ             7055
452       No Longer in Bus            0     (212) 995-7177   (212) 995-7498   CABRINI MEDICAL CENTER           227 E. 20TH STREET           NEW YORK           NY            10003
453              C                    1     (626) 331-3361   (626) 966-6062   CACO PACIFIC CORP                813 N. CUMMINGS ROAD         COVINA             CA       91724-2506
454              C                    1     (812) 466-9841   (812) 466-9842   CAHILLS RENTAL & SALES INC       2205 LAFAYETTE AVE           TERRE HAUTE        IN            47805
455             U                     1     (972) 247-4440   (972) 247-8991   CAJUN ELECTRIC                   P O BOX 2459                 RED OAK            TX       75154-2459
456       No Longer in Bus            0     (805) 495-2111   (805) 371-9486   CAL U RENT OF THOUSAND OAKS      661 E THOUSAND OAKS BLVD     THOUSAND OAKS      CA            91360
457              C                    1     (213) 685-7100   (213) 727-0932   CAL-LIFT INC *                   P O BOX 22000                LOS ANGELES        CA            90022
458             U                     1     (617) 623-7430   (617) 776-9393   CALEY & WHITMORE CORP.           ATT: ACCOUNTS PAYABLE        SOMERVILLE         MA             2143
459             U                     1     (850) 674-5411   (850) 674-1649   CALHOUN-LIBERTY HOSPITAL         424 BURNS AVE                BLOUNTSTOWN        FL            32424
460       No Longer in Bus            0     (714) 448-1652   (714) 894-5456   CALIFORNIA BIOLOGICALS           16835 ALGONQUIN ST #388      HUNTINGTON BEACH   CA            92649
461             U                     1     (562) 921-1223   (562) 921-3666   CALIFORNIA BOX CO                13901 S CARMENITA ROAD       SANTA FE SPRNGS    CA       90670-4916
462              C                    1     714-777-8383     714-777-8382     CALIFORNIA BUTTON CO. LLC        P.O. BOX 17129               Anaheim            CA            92817
463              C                    1     (626)569-8171    (626) 455-0010   CALIFORNIA COIL CO               2523 SEAMAN AVE              SOUTH EL MONTE     CA       91733-1983
464             U                     1     (408) 292-7500   (408) 292-4252   CALIFORNIA DRYWALL CO            390 FLOYD ST                 SAN JOSE           CA            95110
465             U                     1     (626) 812-0545   (626) 815-8431   CALIFORNIA ELEC MTR SOURCE       451 S. IRWINDALE AVENUE      AZUSA              CA            91702
466              C                    1     (925) 827-1011   (925) 827-5409   CALIFORNIA ELECTRIC SERVCE INC   1170 G BURNETT AVE           CONCORD            CA            94520
467                                   0     (925) 689-9860   (925) 933-5031   CALIFORNIA MEDICAL SUPPLY        2490 ARNOLD INDUSTRIAL WAY   CONCORD            CA            94520
468                                   0     (510) 751-1513   (510) 782-7164   CALIFORNIA SERVICE TOOL INC      3875 BAY CENTER PLACE        HAYWARD            CA            94545
469              C                    1     (714) 966-1852   (714) 966-0104   CALIFORNIA STAGE & LIGHTING      3211 WEST MAC ARTHUR BLVD    SANTA ANA          CA            92704
470                                   0     (213) 588-9201   (213) 727-0932   CALWESTERN SALES CORP            3344 LEONIS BLVD             LOS ANGELES        CA            90058
471              C                    1     (601) 544-5512   (601) 544-5513   CAMERON ELECTRIC MOTOR CO INC    115 WEST RED STREET          HATTIESBURG        MS       39403-0328
472              C                    1     (315) 593-8062   (315) 592-5963   CANFIELD MACHINE & TOOL CO       121 HOWARD ROAD              FULTON             NY            13069
473              U                    1     (573) 634-4488   (573) 634-7789   CAPITAL MACHINE COMPANY INC      1101 INDUSTRIAL DRIVE        JEFFERSON CITY     MO            65109
474              C                    1     (334) 264-2334   (334) 263-2635   CAPITOL CITY SHARPENING & SLS    915 S COURT ST               MONTGOMERY         AL            36104
475              U                    1     (949) 240-4085   949-429-6042     CAPO BEACH EQUIPMENT RENTALS     34221 DOHENY PARK RD         CAPISTRANO BEACH   CA            92624
476                                   0     (714) 572-9900   (714) 572-9985   CARDINAL HEALTH/CATHOLIC HEALT   P O BOX 7052                 TROY               MI            48007
477       No Longer in Bus            0     (787) 636-1000   (787) 703-1371   CARDIODENT                       PO BOX 4953 SUITE 2048       CAGUAS             PR              726
478             U                     1     (740) 385-6177   (740) 385-0474   CARDIOPUMONARY CARE INC          PO BOX 997                   LOGAN              OH            43138
479             U                     1     (503) 288-8174   (503) 288-8525   CARE MEDICAL                     1877 NE SEVENTH AVE          PORTLAND           OR            97212
480                                   0     (732) 739-8900   (732) 739-0316   CARES MEDICAL                    75 MANCHESTER AVE            KEYPORT            NJ             7735
481              U                    1     (626) 831-9885   (626) 443-8120   CARL'S ELECTRIC, INC             4564 N PECK ROAD             EL MONTE           CA            91732
482              U                    1     803/275-4486     803/275-3920     CARLISLE TIRE & WHEEL            P.O. BOX 9                   TRENTON            SC            29847
483              U                    1     (619) 282-5995   (619) 282-6900   CARLS RENTALS                    2310 UNIVERSITY AVENUE       SAN DIEGO          CA            92104
484              U                    1     (412) 268-4670   (412) 268-5895   CARNEGIE MELLON UNIV - ROBOTIC   FIELD ROBOTICS CENTER        PITTSBURGH         PA            15213
485              C                    1     (206) 781-1827   (206) 781-1828   CARNITECH MAREL FOOD SYSTEMS     2001 W. GARFIELD STREET      SEATTLE            WA            98119
486              U                    1     (517) 673-3141   (517) 673-8471   CARO COMMUNITY HOSPITAL          PO BOX 71                    CARO               MI            48723
487              C                    1     (517) 673-5518   (517) 673-5016   CARO RENTAL                      466 ELLINGTON STREET         CARO               MI            48723
488                                   0     (520) 790-5300   (520) 748-2543   CARONDELET HLTH CARE             PO BOX 5926                  TUCSON             AZ            85703
489              C                    1     (870) 994-3535   (870) 994-3545   CARPET EXPRESS                   PO BOX 279                   ASH FLAT           AR            72513
490       No Longer in Bus            0     (818) 843-6886   (818) 840-8107   CARPET MILLS SERVICE             800 SOUTH FLOWER STREET      BURBANK            CA            91502
491              C                    1     (520) 421-0222   (520) 421-0444   CASA GRANDE ELECTRIC MOTORS      807 E JIMMIE KERR BLVD       CASA GRANDE        AZ            85222
492              C                    1     (607) 729-5278   (607) 797-0970   CASCADE ELECTRIC INC             416 COMMERCE RD              VESTAL             NY            13850
493       No Longer in Bus            0     (210) 499-4600   (210) 499-4603   CASH SAVER RENTALS, INC          15327 SAN PEDRO              SAN ANTONIO        TX            78232
494             U                     1     (517) 789-8153   (517) 789-8462   CASLER HARDWARE INC              125 N JACKSON ST             JACKSON            MI            49201
495             U                     1     (562) 941-9244   (562) 941-9204   CASTLEROCK ENVIRONMENTAL,INC     10040 PAINTER AVE            SANTA FE SPRINGS   CA            90670
496                                   0     (714) 523-7000   (714) 523-8100   CATALINA FURNITURE               40 E VERDUGO AVE             BURBANK            CA       91502-1931
497              U                    1     270-444-2593     (859) 594-3155   CATHOLIC HEALTH INITIATIVE       LOURDES HOSPITAL             ERLANGER           KY       41018-1099
498                                   0     (270) 444-2593   (270) 415-3939   Catholic Health Initiatives      Lourdes Hospital             Erlanger           KY            41018
499              C                    1     (417) 256-4711   (417) 256-9501   CAWVEYS ELECTRIC MOTOR SERVICE   115 E 2ND ST                 WEST PLAINS        MO            65775
500              C                    1     (602) 426-1667   (602) 426-0125   CBS SOUTHWEST, INC               3702 E MIAMI STREET          PHOENIX            AZ            85040
501              U                    1     (516) 735-1204   (516) 735-1985   CCME, INC.                       105 GARDINERS AVE.           LEVITTOWN          NY            11756
502              U                    1     (315) 789-4400   (315) 789-0376   CCN INTERNATIONAL                200 LEHIGH STREET            GENEVA             NY            14456
503              U                    1     (916) 454-4725   (916) 454-3961   CDP/CALIFORNIA DIAMOND PRODUCT   2836 REDDING AVENUE          SACRAMENTO         CA       95820-2121
504              U                    1     (904) 202-5878   (904) 202-5030   CE-TECH, INC.                    800 PRUDENTIAL DR.           JACKSONVILLE       FL            32207




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505               U                   1     (310) 423-3194   (310) 385-9043   CEDARS-SINAI MEDICAL CENTER      P.O. BOX 48955                 LOS ANGELES        CA            90048
506               C                   1     (303) 592-3651   (303) 592-3661   CENTER RENTAL                    1385 UMATILLA ST               DENVER             CO            80204
507               C                   1     (303) 482-9999   (303) 592-3661   CENTER RENTAL & SALES *          1301 E MULBERRY                FORT COLLINS       CO            80524
508               U                   1     (516) 588-8911   (516) 588-2430   CENTEREACH PHARMACY & SURGICAL   2155 MIDDLE COUNTRY RD         CENTEREACH         NY            11720
509                                   0     (513) 563-7755   (513) 563-0768   CENTERS FOR FOOT & ANKLE CARE    10475 READING ROAD STE. 304    CINCINNATI         OH            45241
510              U                    1     (501) 589-2553   (501) 589-3313   CENTRAL ARKANSAS TOOL SUPPLY     5099 HEBER SPRINGS ROAD        QUITMAN            AR            72131
511              U                    1     (859) 260-6100   (859) 260-6699   CENTRAL BAPTIST HOSPITAL         1740 NICHOLASVILLE RD          LEXINGTON          KY            40503
512              U                    1     (805) 466-0979   (805) 293-8777   CENTRAL COAST ORTHOPEDIC MED G   921 N Oak Park Blvd STE 204    PISMO BEACH        CA            93449
513              C                    1     (620) 669-9000   (620) 669-9006   CENTRAL ELEC MTR SPECIALTIES     327 S. WALNUT                  HUTCHINSON         KS            67501
514                                   0     (508) 842-7280   (508) 842-4865   CENTRAL MASS TECH SERVICES       19 MAPLE AVE                   SHREWSBURY         MA             1545
515              U                    1     (517) 772-6729   (517) 772-6868   CENTRAL MICHIGAN COMM HOSP       1221 SOUTH DRIVE               MOUNT PLEASANT     MI            48858
516                                   0     (641) 782-4061   (641) 782-4061   CENTRAL PLAINS ELECTRIC          1206 SMITH STREET              CRESTON            IA            50801
517             U                     1     (512) 753-3591   (512) 753-3645   CENTRAL TEXAS MEDICAL CENTER     1301 Wonder World Dr           SAN MARCOS         TX            78666
518              C                    1     (308) 995-2123   (308) 995-5413   CENTRAL VALLEY ELECTRIC INC      1625 EAST HIGHWAY 6            HOLDREGE           NE            68949
519             U                     1     (814) 234-6151   (814) 231-7027   CENTRE COMMUNITY HOSPITAL        P.O. BOX 1289                  STATE COLLEGE      PA            16804
520             U                     1     (619) 224-1100   (619) 224-4247   CENTURUM                         7807 CONVOY COURT SUITE 101    San Diego          CA            92111
521             U                     1     (636) 926-9333   (636) 926-9777   CENTURY TOOL & EQUIPMENT         4013 S. OLD HIGHWAY 94,        SAINT PETERS       MO            63304
522              C                    1     (541) 389-4120   (541) 389-4120   CERTIFIED SPINDLE PREPARATION    C/O FRANK BRYAN                BEND               OR            97708
523              C                    1     (951) 276-9619   (951) 276-1460   CHAMPION ELECTRIC INC            3950 GARNER ROAD               RIVERSIDE          CA            92501
524       No Longer in Bus            0     (504) 568-3690   (504) 568-2339   CHARITY HOSPITAL                 1532 TULANE AVE.               NEW ORLEANS        LA            70112
525       No Longer in Bus            0     (315) 433-0011   (315) 433-1580   CHARLES HALLER ENTERPRISES INC   4079 NEW COURT AVENUE          SYRACUSE           NY            13206
526             U                     1     (909) 946-6766   (909) 682-0203   CHARLES MEISNER, INC             201-A SOUTH SIERRA PLACE       UPLAND             CA            91786
527              C                    1     (360) 377-3400   (360) 373-5822   CHARLESTON ELECTRIC MOTOR SVCE   901 N WYCOFF AVE               BREMERTON          WA            98310
528       No Longer in Bus            0     (603) 886-5000   (603) 886-5127   CHARTER BROOKSIDE B.H.S.N.E.     29 NORTHWEST BLVD              NASHUA             NH             3063
529             U                     1     503-972-6773     (503) 232-9821   CHAS. H. DAY CO                  11405 S.E. 37TH AVE            MILWAUKIE          OR            97222
530              C                    1     (303) 979-4810   (303) 979-7268   CHATFIELD TIME RENTALS           6641 WEST KEN CARYL ROAD       LITTLETON          CO            80128
531              C                    1     (423) 267-7665   (423) 756-4404   CHATTANOOGA ARMATURE WKS         1209 E 23RD STREET             CHATTANOOGA        TN            37408
532             U                     1     (509) 682-6113   (509) 682-3475   CHELAN COMMUNITY HOSPITAL        P.O. BOX 908                   CHELAN             WA            98816
533              C                    1     (248) 853-6020   (248) 853-7620   CHET'S RENT-ALL*                 2616 CROOKS ROAD               ROCHESTER HILLS    MI            48309
534             U                     1     (502) 361-6000   (859) 594-3145   CHI - CARITAS MEDICAL CENTER     3900 OLYMPIC BLVD. SUITE 400   ERLANGER           KY       41018-1099
535             U                     1     (847) 729-4211   (847) 729-4262   CHICAGO GASKET TEFLON PROD.      1445 KAYWOOD LANE              GLENVIEW           IL            60025
536             U                     1     (312) 726-0271   (312) 726-2136   CHICAGO ORTHOPAEDICS AND         SPORTS MEDICINE                CHICAGO            IL            60603
537             U                     1     (619) 232-2162   (619) 232-8555   CHICKS ELEC MTR SERVICE          3592 MAIN ST                   SAN DIEGO          CA            92113
538             U                     1     (530) 893-3030   (530) 894-0607   CHICO POWER EQUIPMENT            2795 ESPALNADE                 CHICO              CA            95973
539              C                    1     (530) 891-9041   (530) 891-9041   CHICO TOOL REPAIR                4616 CODY LANE                 FOREST RANCH       CA            95942
540             U                     1     (972) 289-1142   (972) 289-1564   CHIEF ELECTRIC MOTOR SERVICE     2205-B PEACHTREE ROAD          BALCH SPRINGS      TX            75180
541             U                     1     (561) 464-7378   (561) 464-2409   CHIEF MEDICAL EXAMINER           2500 SOUTH 35TH STREET         FT. PIERCE         FL            34981
542             U                     1     (323) 724-7337   (323) 726-4700   CHILDREN'S HOSPITAL              4650 Sunset Blvd. MS #47       Los Angeles        CA            90027
543             U                     1     (304) 263-9995   (303) 297-0650   CHILDREN'S HOSPITAL              4200 E 9th Ave                 DENVER             CO            80218
544             U                     1     (215) 659-4215   (724) 225-4309   CHILDREN'S HOSPITAL              3401 Civic Center Blvd         PHILADELPHIA       PA            19104
545             U                     1     (205) 939-9100   (205) 939-6060   CHILDREN'S HOSPITAL              1601 5th Ave S                 BIRMINGHAM         AL            35233
546              C                    1     (520) 636-2026   (520) 778-7368   CHINO RENTALS                    1181 N HWY 89                  CHINO VALLEY       AZ            86323
547             U                     1     (510) 923-4868   (510) 923-7561   CHIRON CORPORATION               4560 HORTON STREET             EMERYVILLE         CA            94608
548             U                     1     (714) 522-8123   (714) 522-8558   CHOICE TECHNICAL SERVICES        17517 FABRICA WAY #K           CERRITOS           CA            90701
549             U                     1     (919) 833-4499   (919) 833-6816   CHRIS SUPPLY COMPANY, INC        1640 SOUTH SAUNDERS ST         RALEIGH            NC            27603
550                                   0     (302) 733-4616   (302) 733-4640   CHRISTIANA CARE HLTH SVCS        PO BOX 2653                    WILMINGTON         DE            19805
551                                   0     (650) 367-5828   (650) 482-6122   CHW, INC.                        ATT: ACCOUNTS PAYABLE          SAN FRANCISCO      CA       94120-7707
552              C                    1     (513) 563-6150   (513) 563-6120   CINCINNATI ELECTRIC              9709 READING ROAD              CINCINNATI         OH            45215
553              C                    1     (513) 621-2183   (513) 621-1910   CINCINNATI ELECTRIC REPAIR       2023 ELM ST                    CINCINNATI         OH       45202-4910
554       No Longer in Bus            0     (818) 678-2276   (818) 678-2313   CINCINNATI MACHINE, LLC          13900 LAKESIDE CIRCLE          STERLING HEIGHTS   MI            48313
555             U                     1     (281) 479-4555   (581) 479-4566   CIRCUIT BREAKER SALES & REP.     POST OFFICE BOX 1179           DEER PARK          TX            77536
556             U                     1     (916) 444-2525   (916) 444-7619   CISCO AIR SYSTEMS INC            214 27TH STREET                SACRAMENTO         CA            95816
557              C                    1     (816) 842-7777   (816) 842-1601   CISCO CONSTRUCTION & IND SPLY    1901 MC GEE ST                 KANSAS CITY        MO            64108
558             U                     1     859-254-5581     859-253-0121     CITY ELECTRIC MOTOR SHOP         631 KENNEDY RD                 LEXINGTON          KY            40511
559              C                    1     (330) 747-2639   (330) 747-3205   CITY MACHINE TECHNOLOGIES INC*   773 WEST RAYEN AVENUE          YOUNGSTOWN         OH       44501-1466
560             U                     1     (714) 754-5286   (714) 754-5124   CITY OF COSTA MESA               99 FAIR DRIVE                  COSTA MESA         CA            92626




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561               U                   1     (301) 609-4355   (301) 609-4185   CIVISTA MEDICAL CENTER           P.O. BOX 1070                    LA PLATA           MD            20646
562               C                   1     562-907-1100     562-907-1105     CJI PROCESS SYSTEMS              12000 CLARK STREET               SANTA FE SPRINGS   CA            90670
563               C                   1     (503) 632-2053   (503) 632-2054   CLACKAMAS ELECTRIC MOTOR & TL    22011 S. BEAVERCREEK ROAD        BEAVERCREEK        OR            97004
564               U                   1     (973) 450-2173   (973) 844-4924   CLARA MAASS MEDICAL CENTER       1 CLARA MAASS DRIVE              BELLVILLE          NJ             7109
565               U                   1     (800) 748-8321   (785) 823-7614   CLARE GENERATOR SERVICE          801 N 10TH                       SALINA             KS       67402-0543
566                                   0     (562) 941-2225   (562) 941-2373   CLARK FORKLIFT                   10620 SPRINGDALE AVE             SANTA FE SPRINGS   CA            90670
567             U                     1     (812) 283-2040   (812) 283-2194   CLARK MEMORIAL HOSPITAL          PO BOX 69                        JEFFERSONVILLE     IN            47130
568             U                     1     (859) 745-3548   (859) 745-3450   CLARK REGIONAL MEDICAL CENTER    1107 W. LEXINGTON AVE.           WINCHESTER         KY            40392
569              C                    1     (800) 569-8011   (330) 262-9126   CLARK-FOWLER ELECTRIC*           510 WEST HENRY STREET            WOOSTER            OH            44691
570       No Longer in Bus            0     (562) 941-2225   (562) 941-2373   CLARKLIFT OF CALIFORNIA          10620 SPRINGDALE AVE             SANTA FE SPRINGS   CA            90670
571             U                     1     (406) 452-8428   (406) 452-8741   CLARKS ORTHOPEDIC                513 FIRST AVE. SOUTH             GREAT FALLS        MT            59401
572              C                    1     (816) 826-3100   (816) 826-4597   CLARKS TOOL                      2907 W BROADWAY                  SEDALIA            MO            65301
573              C                    1     (816) 781-0700   (816) 781-4233   CLAY COUNTY ELECTRIC MTRS, INC   129 S GALLATIN                   LIBERTY            MO            64068
574              C                    1     (718) 501-0160   (718) 501-0162   CLEANING EQUIPMENT MAINT CORP    9502 DITMAS AVE                  BROOKLYN           NY            11236
575              C                    1     (213) 721-3800   (213) 721-4142   CLEANSOURCE, INC                 650 BRENNAN STREET               SAN JOSE           CA       95131-1204
576             U                     1     (318) 484-7177   (318) 484-7191   CLECO CORPORATION                Attn: Accounts Payable           PINEVILLE          LA            71361
577                                   0     (216) 444-2552   (216) 445-1829   CLEVELAND CLINIC HEALTH SYSTEM   6801 BRECKSVILLE ROAD            INDEPENDENCE       OH            44131
578             U                     1     (330) 296-4342   (330) 296-6877   CLEVELAND PUNCH AND DIE CO       P O BOX 769                      RAVENNA            OH            44266
579       No Longer in Bus            0     (281) 593-2198   (281) 593-8357   CLEVELAND REG. MED. CNTR         ATT: ACCOUNTS PAYABLE            CLEVELAND          TX            77327
580       No Longer in Bus            0     (219) 233-7918   (219) 233-7992   CLIFFCOR MEDICAL                 1211-1215 MISHAWAK AVE.          SOUTH BEND         IN            46615
581       No Longer in Bus            0     (814) 443-3194   (814) 445-3894   CLINICAL EQUIPMENT SVCS INC      368 REBECCA STREET               SOMERSET           PA            15501
582       No Longer in Bus            0     (559) 935-4203   (559) 935-4207   COALINGA REGIONAL MEDICAL CTR    1191 PHELPS AVE.                 COALINGA           CA            93210
583              C                    1     (206) 622-1151   (206) 282-6651   COAST CRANE COMPANY              8250 5TH AVENUE S                SEATTLE            WA            98108
584             U                     1     (714) 754-5595   (714) 549-3185   COASTAL COMMUNITY HOSPITAL       2701 S. BRISTOL STREET           SANTA ANA          CA            92704
585                                   0                      (727) 345-0325   COBHAM MISSIONS SYSTEMS dba      CONAX FLORIDA CORPORATION        Saint Petersburg   FL            33710
586              U                    1     (305) 267-0072   (305) 261-5999   COBRA MEDICAL EQUIPMENT          4514 SW 74TH AVE                 MIAMI              FL            33155
587                                   0     (208) 667-1158   (208) 765-1818   COEUR DALENE POWER TOOL & HDWR   451 CHERRY LANE & HWY 95         COEUR D'ALENE      ID            83815
588              U                    1     (802) 656-3255   (802) 656-8961   COHR MASTERPLAN                  ATT: FRED COOK                   BURLINGTON         VT             5401
589              U                    1     (310) 832-4581   (310) 832-4583   COLES BATTERY & IGNITION         555 W 5TH ST                     SAN PEDRO          CA            90731
590              U                    1     (315) 866-0826   (315) 866-8069   COLLIS TRUE VALUE HARDWARE       104 N MAIN ST                    HERKIMER           NY            13350
591              C                    1     (314) 966-2000   (314) 966-4725   COLOR ART INC                    10300 WATSON RD                  ST LOUIS           MO       63127-1187
592              U                    1     (303) 289-1011   (303) 289-5430   COLORADO BRAKE & SUPPLY          5001 E. 52ND AVENUE              COMMERCE CITY      CO            80022
593                                   0     (719) 269-4042   (719) 269-4129   COLORADO DEPT OF CORRECTIONS     ACCOUNTS PAYABLE DEPT.           CANYON CITY        CO       81212-1010
594              C                    1     (719) 550-0700   (719) 550-0706   COLORADO FLATWORK, INC           2330 WAYNOKA ROAD                COLORADO SPRINGS   CO            80915
595                                   0     (719) 471-8181   (719) 471-7829   COLORADO SPRINGS                 INDEPENDENCE CENTER              COLORADO SPRINGS   CO            80903
596                                   0     (212) 305-9424   212-305-9474     COLUMBIA UNIVERSITY              622 WEST 168TH ST / P.O BOX 51   NEW YORK           NY            10032
597                                   0     (718) 575-7118   (781) 575-0084   COMDISCO LAB/SCIENTIFIC          50 SHAWMUT RD.                   CANTON             MA             2021
598              C                    1     (313) 581-8050   (313) 581-8292   COMMONWEALTH SERVICE SLS         5455 OAKMAN BLVD                 DEARBORN           MI            48126
599             U                     1     (419) 636-1131   (419) 636-3100   COMMUNITY HOSP OF WILLIAMS CNT   433 W. HIGH STREET               BRYAN              OH            43506
600             U                     1     (406) 363-6802   (406) 363-6803   COMPANION PET CLINIC             162 GOLF COURSE ROAD             HAMILTON           MT            59840
601             U                     1     (909) 591-6546   (909) 590-1348   COMPART                          13263 YORBA AVE                  CHINO              CA            91710
602             U                     1     (949) 235-1815   (949) 600-7278   COMPASS CONTRACTOR SUPPLY        26531 VIA JUANITA                Mission Viejo      CA            92691
603              C                    1     323-278-0885     323-278-0856     COMPLETE INDUSTRIAL REPAIR       7403 TELEGRAPH ROAD              Montebello         CA            90640
604             U                     1     (360) 570-2210   (360) 943-1961   COMPLETE REPAIR SERVICES LLC     7242 LITTLEROCK ROAD S.W.        TUMWATER           WA            98512
605             U                     1     (707) 258-0885   (707) 855-5465   COMPLETE WELDERS SUPPLY          101 CAMINO DORADO                Napa               CA            94558
606              C                    1     (800) 521-0420   (313) 496-9069   COMPOSITE FORGINGS LTD           2300 WEST JEFFERSON AVENUE       DETROIT            MI            48216
607       No Longer in Bus            0     (612) 493-0099   (612) 493-0093   COMPUTERIZED MACHINERY           11733 95TH AVE. NORTH            MAPLE GROVE        MN            55369
608             U                     1     (719) 570-7333   (719) 570-7610   CONCEPTS IN MILLWORK INC         1490 TUSKEGEE PLACE              COLORADO SPRGS     CO            80915
609              C                    1     (925) 685-6799   (925) 685-6851   CONCO CEMENT CO                  5151 PORT CHICAGO HIGHWAY        CONCORD            CA       94520-1216
610             U                     1     (603) 225-2711   (603) 228-7023   CONCORD HOSPITAL                 250 PLEASANT STREET              CONCORD            NH             3301
611             U                     1     (630) 257-5440   (630) 257-7566   CONCRETE CLINIC INC              13089 MAIN STREET                LEMONT             IL            60439
612             U                     1     909-613-9000     909-590-3446     CONDENSER & CHILLER SERVICES     13382 BENSON AVE                 Chino              CA            91710
613              C                    1     (801) 627-8156   (801) 731-7234   CONNECTORS FOR CONSTRUCTION      1996 WEST 4600 SOUTH             ROY                UT            84067
614             U                     1     (845) 565-5820   (845) 565-4242   CONSOLIDATED MEDICAL INC         29 PROSPECT ST.                  NEWBURGH           NY            12550
615             U                     1     (303) 623-5313   (303) 493-0638   CONSOLIDATED PARTS INC           555 QUIVAS ST                    DENVER             CO            80204
616              C                    1     (605) 332-4994   (605) 332-4993   CONSTRUCTION PRODUCTS & CNSLT    P O BOX 84433                    SIOUX FALLS        SD       57118-4433




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617               C                   1     (913) 335-2224   (913) 335-2301   CONSTRUCTION RENTAL INC *        P O BOX 68                       SCANDIA               KS            66966
618               C                   1     (602) 323-2807   (602) 323-2810   CONSTRUCTION TOOL & SUPPLY       DIV OF WESTERN PNEUMATIC TOOL    PHOENIX               AZ            85040
619               C                   1     (573) 499-1808   (573) 499-1808   CONSTRUCTION TOOL REPAIR         806 C PANNELL STREET             COLUMBIA              MO            65202
620                                   0     (412) 681-6673   (412) 681-9185   CONSTRUCTION TOOL SERVICE INC    3500 LIBERTY AVENUE              PITTSBURGH            PA            15201
621              U                    1     (949) 863-1411   (949) 852-1527   CONSUMERS AIRCRAFT COMPANY       16842 HALE AVENUE                IRVINE                CA            92714
622       No Longer in Bus            0     (818) 242-4171   (818) 637-5016   CONTINENTAL HOSP. SUPPLY         320 WEST CERRITOS AVE.           GLENDALE              CA            91204
623              U                    1     (305) 633-7700   (305) 633-7707   CONTINENTAL SERVICE GROUP        1300 N.W. 36TH STREET            MIAMI                 FL            33142
624              U                    1     (925) 370-5200   (925) 370-5423   CONTRA COSTA REG. MED CTR        ATTN: ACCOUNTS PAYABLE           MARTINEZ              CA            94553
625              U                    1     (503) 469-0331   (503) 793-7676   CONTRACTOR SALES AND SERVICE     P O BOX 21733                    KEIZER                OR       97307-1733
626              C                    1     (513) 851-9070   (513) 851-9017   CONTRACTORS CHOICE, INC          2070 SCHAPPELLE LANE             CINCINNATI            OH            45240
627              C                    1     (419) 334-3505   (419) 332-4112   CONTRACTORS EQUIPMENT, INC       201 SOUTH STONE STREET           FREMONT               OH            43420
628              C                    1     (805) 543-4558   (805) 543-4472   CONTRACTORS MAINTENANCE SV       3440-B SACRAMENTO DRIVE          SAN LUIS OBISPO       CA            93401
629              C                    1     (916) 331-6934   (916) 331-8732   CONTRACTORS WAREHOUSE *          WESTERN DIVISION                 SACRAMENTO            CA       95821-0321
630              C                    1     (636) 474-3188   (636) 474-3195   CONTROL TECHNICIANS, INC         102 TRADE CENTER DR              SAINT PETERS          MO            63376
631              U                    1     (417) 623-3602   (417) 623-3707   CONTROLS AND ELECTRIC MTR CO     P O BOX 1651                     JOPLIN                MO            64802
632              C                    1     (843) 248-5302   (843) 248-4758   CONWAY ELECTRIC MOTOR SERVICE    402 LEWIS STREET                 CONWAY                SC            29526
633              C                    1     (850) 763-9679   (850) 763-9679   COOK MOWER SERVICE               613 CAMELLIA AVENUE              PANAMA CITY           FL            32404
634              U                    1     (931) 520-2590   (931) 520-2490   COOKEVILLE REGIONAL MED CTR      142 WEST FIFTH ST.               COOKEVILLE            TN            38501
635              C                    1     (702) 565-3728   (702) 565-2608   COOPER FIRE PROTECTION SERVICE   P O BOX 15039                    FARMINGTON            NM            87401
636              C                    1     (602) 455-9141   (602) 269-3142   COPPER STATE BOLT & NUT CO****   3622 N 34TH AVENUE               PHOENIX               AZ            85017
637             C, U                  0     (714) 265-9411   (714) 265-9413   CORDOVA & SON INC                13901 NAUTILUS DR                GARDEN GROVE          CA            92843
638              C                    1     (650) 589-9445   (650) 589-2815   CORE-MARK INTERNATIONAL          395 OYSTER POINT BLVD #415       SOUTH SAN FRANCISCO   CA            94080
639              U                    1     (951) 737-6515   (951) 737-8657   CORONA CLIPPER CO                1540 EAST 6TH STREET             CORONA                CA            91718
640              C                    1     (361) 883-1117   (361) 883-7365   CORPUS CHRISTI POWER TOOL        3701 AGNES ST                    CORPUS CHRISTI        TX            78405
641              U                    1     (787) 724-0041   (787) 724-7211   CORTES INDUSTRIAL ORGANIZAION    P O BOX 41264                    SANTURCE              PR              907
642              U                    1     (909) 890-9311   (909) 890-9368   COTT BEVERAGES USA               499 E. MILL STREET               SAN BERNARDINO        CA            92408
643                                   0     (701) 235-0175   (701) 235-1444   COUNTRY HEALTH LLC               ATT: ACCOUNTS PAYABLE            FARGO                 ND            58103
644                                   0     (601) 957-2273   (601) 977-0508   COUNTY LINE FAMILY MED CLINIC    1551 E. COUNTY LINE RD.          JACKSON               MS            39211
645              U                    1     972-289-8665     972-288-9984     COUNTY LINE TOOL REP. & CONST    2517 FRANKLIN DR., SUITE H       Mesquite              TX            75150
646              U                    1     (760) 873-4266   (760) 873-1137   COUNTY OF INYO - CORONER         P.O. BOX 1175                    BISHOP                CA            93515
647                                   0     (989) 583-4093   (989) 583-4782   COVENANT HEALTH SYSTEM           3345 MICHELSON DRIVE, STE. 100   IRVINE                CA            92612
648             U                     1     (417) 269-7994   (417) 269-4493   COX MEDICAL CENTER               1423 N JEFFERSON AVE             SPRINGFIELD           MO            65802
649       No Longer in Bus            0     (951) 678-9902   (951) 678-9952   COYOTE RENTALS & SALES, INC      32420 CENTRAL AVENUE             WILDOMAR              CA            92595
650             U                     1     (972) 313-1133   (972) 313-1341   CPE INC                          3330 STOVALL STREET              IRVING                TX            75061
651             U                     1     (415) 863-8383   (415) 863-2424   CRAFTSMEN TOOL RENTAL INC        131 MISSOURI STREET              SAN FRANCISCO         CA       94107-2424
652              C                    1     (415) 642-8698   (415) 285-1455   CRAIG & GREEN                    1595 FAIRFAX AVENUE              SAN FRANCISCO         CA            94124
653                                   0     (562) 426-2531   (562) 424-5043   CRANE PACIFIC VALVE GROUP        3201 WALNUT AVENUE               LONG BEACH            CA            90807
654              C                    1     (800) 554-6235   (410) 679-8141   CRANE PRO SERVICES               ATTN: ACCOUNTS PAYABLE           ABINGDON              MD            21009
655              U                    1     (912) 452-2926   (912) 452-1451   CRANK N CHARGE                   531 NORTH JEFFERSON STREET       MILLEDGEVILLE         GA            31061
656              U                    1     (503) 654-7751   (503) 654-6172   CRANSTON MACHINERY CO., INC      2251 S.E. OAK GROVE BLVD         OAK GROVE             OR            97267
657              U                    1     (252) 633-3378   (252) 633-3472   CRAVEN COUNTY DIALYSIS CTR       813 KENNEDY AVE.                 NEW BERN              NC            28560
658              U                    1     (510) 228-9811   (510) 229-0112   CRESCO EQUIPMENT RENTAL          197 HOWE ROAD                    MARTINEZ              CA            94553
659                                   0     (888) 476-1536   (214) 488-9299   CREST SERVICES                   2296 ROCKBROOK DRIVE #200        LEWISVILLE            TX            75067
660              C                    1     (515) 782-6411   (515) 782-6869   CRESTLAND COOPERATIVE            300 OSAGE                        CRESTON               IA       50801-0329
661              U                    1     (805) 890-6569   (805) 388-3374   CRIME POINT                      1560 LOMA DRIVE                  CAMARILLO             CA            93010
662              C                    1     (803) 877-3357   (803) 877-9011   CRIMSON ELECTRIC INC             LEE JOYAL ROAD                   GREER                 SC            29652
663              U                    1     (912) 276-3392   (912) 276-3134   CRISP REGIONAL HOSPITAL          PO BOX 5007                      CORDELE               GA            31010
664              U                    1     (601) 798-4711   (601) 799-3668   CROSBY MEMORIAL HOSPITAL         PO BOX 909                       PICAYUNE              MS            39466
665                                   0     (800) 282-1229   (877) 778-8102   CROWN AIR*                       1486 E CEDAR ST                  ONTARIO               CA            91761
666              C                    1     (323) 268-1298   (323) 268-6558   CROWN POLY, INC. *               4160 BANDINI BLVD                LOS ANGELES           CA            90023
667              C                    1     (606) 679-4267   (606) 679-7997   CROWN RENTAL                     1014 W COLUMBIA STREET           SOMERSET              KY            42503
668       No Longer in Bus            0     (703) 212-6700   (703) 212-6705   CSA MEDICAL ORTHO EQUIPMENT      PO BOX 9973                      ALEXANDRIA            VA            22304
669             U                     1     (800) 260-0274   (714) 848-7977   CSM FITNESS EQUIPMENT            7441 VINCENT CIRCLE              HUNTINGTON BEACH      CA            92647
670             U                     1     (509) 544-9317   (509) 544-9519   CUBBY'S ELECTRIC                 1716 WEST A ST                   PASCO                 WA            99301
671              C                    1     (408) 808-8000   (408) 279-6214   CUPERTINO ELECTRIC INC *         2659 COLLIER CANYON ROAD         LIVERMORE             CA            94550
672             U                     1     (610) 432-9923   (610) 437-6422   CURIO ELECTRIC REPAIR            825 S 5TH ST                     ALLENTOWN             PA            18103




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673               C                   1     (918) 584-6757   (918) 584-1641   CURLEY ELECTRIC             1118 E. INDEPENDENCE            TULSA          OK            74106
674               C                   1     (918) 584-6757   (918) 584-1641   CURLEY ELECTRIC MOTOR SV    6707 E. 12TH ST                 TULSA          OK       74112-5694
675                                   0     (920) 303-7300   (920) 303-7309   CURWOOD, INC                2200 BADGER AVE                 Oshkosh        WI       54903-2968
676             U                     1     (800) 622-5151   (855) 834-7315   CUSTOM MOBILITY INC         7199 BRYAN DAIRY                LARGO          FL            33777
677       No Longer in Bus            0     (910) 686-3599   (910) 686-3499   CVC HOME MEDICAL, INC.      P.O. BOX 10731                  WILMINGTON     NC            28404
678             U                     1     (800) 292-2953   (303) 297-0650   CVJ AXLES, INC              4101 BRIGHTON BLVD              Denver         CO            80216
679             U                     1     (800) 392-2986   (888) 392-0205   CYTOMETRY ASSOCIATES        201 SUMMIT VIEW DRIVE STE 100   BRENTWOOD      TN            37027




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